     Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.878 Page 1 of 95
                                                                            �----------�



                                                                                        FILED
 1 Julio Mayen                                                                          SEP     10 2018
   15335 Castle PeakLane
 2 Jamul, CA 91935                                                             CLERK. U.S. rJISTRICT COURT
                                                                             SOUTHE     I TR1C1 OF CAi.IFORNIA
 3 ekultan@gmail.com                                                         BY                       !.1E?UTY
   (619) 669-9904
 4
 5
 6
 7
 8                          District court of the United States
 9                        at the Southern district of California
10
11     Julio Mayen,                                     Case No. 17- CV-50 JLS (MDD)
         Plaintiff, Pro Se,
12
             vs.
                                                       THIRD AMENDED VERIFIED
13
       NEW PENN FINANCIAL, LLC                         COMPLAINT FOR DAMAGES
14     dba SHELLPOINT MORTGAGE
15     SERVICING,
                                                       JURY TRIAL REQUESTED
16        Defendants.

17
18
19
20                                          I. COMPLAINT

21
          The United States Congress wrote the Fair Debt Collection Practice Act,
22
23    (FDCPA), Exhibit TAC-1, to eliminate abusive debt collection practices by 'debt
24
      collectors', to insure those debt collectors who refrain from using abusive debt
25
26    collection practices are not competitively disadvantaged, and to promote consistent

27    state action to protect consumers against unscrupulous debt collection abuses.
28


              Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   1
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 1        The California legislature has joined Congress in their efforts to protect

 2     consumers from unscrupulous debt collection abuses by passing theRosenthal Fair
 3
      Debt Collections Act (Rosenthal Act), California Civil Code (CCC), §1788, et
 4
 5    seq., Exhibit TAC-2.
 6
          This claim for damages is brought by an individual Plaintiff against the
 7
 8    Defendants for actual and statutory damages, costs, and attorney's fees pursuant to

 9    American Jurisprudence 2d, Fraud and Deceit §23                  Fraud action;            and §35
10
      Necessity of false representation; definiteness,        FDCPA § 813(a)(b)(c)(d)(e) Civil
11
12    liability, and the Rosenthal Act § 1788.30(a)(b)(c)(d)(e)(t)(g) Liability of debt
13
      collector; individual action; actual and punitive damages; costs; cure of violation;
14
15    venue; defenses.

16        Plaintiff seeks the dismissal of Defendants foreclosure proceedings in toto,
17
      monetary compensation for damages suffered at the hands of Defendants actions,
18
19    and any other relief this Honorable Court may grant Plaintiff.
20
                                 II. JURISDICTION AND VENUE
21
22       This court has jurisdiction pursuant to 15 U.S.C §1692k(d); 28 U.S.C. §1331;

23    and CCC §1788.30(t).              Plaintiff resides in San Diego County, California.
24
       Defendants action derives its existence in San Diego, California.
25
26       Venue is proper in the southern district of California.
27
                                III. PARTIES AND DEFINITIONS
28


              Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   2
     Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.880 Page 3 of 95



 1       I, Julio Mayen, a 'person' as defined in CCC § 1788.2(g) and a 'consumer' as

 2    defined inFDCPA §803(3) Definitions, and 15U.S.C. §1692(a)3.
 3
         Defendant New Penn Financial, LLC, dba Shellpoint Mortgage Servicing
 4
 5    (Shellpoint), located at 75 Beattie PL, #300, Greenville, SC 29601, is no more than
 6
      a 'debt collector' according to this Honorable Court, see Exhibit TAC-3 , Court
 7
 8    Order dated August 16, 2017, page 10 of 15, lines 10- 11, that state: " ... the Court

 9    concludes that Defendant qualifies as a debt collector under the FDCPA", but is a
10
      person, and not the "Creditor" in this matter.
11
12       "Creditor"       means, in FDCPA §803(4 ) Definitions," ... any person who offers
13
      or extends credit creating a debt or to whom a debt is owed, but such term does not
14
15 include any person to the extent that he receives an assignment or transfer of a debt
16    in default solely for the purpose of facilitating collection of such debt for another."
17
      (emphasis mine).
18
19       "Debt collector"      means, inFDCPA §803(6) Definitions, " ... any person who
20
      uses any instrumentality of interstate commerce or the mails in any business the
21
22    principal purpose of which is the collection of any debts, or who regularly collects

23    or attempts to collect, directly or indirectly, debts owed or due or asserted to be
24
      owed or due another. Notwithstanding the exclusion provided by clause (F) of the
25
26    last sentence of this paragraph, the term includes any creditor who, in the process
27
      of collecting his own debts, uses any name other than his own which would
28


              Mayen   v   Shel1point   (Third Amended Verified Complaint for Damages)   -   3
     Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.881 Page 4 of 95



 1     indicate that a third person is collecting or attempting to collect such debts.For the

 2     purpose of section 1692f(6) of this title, such term also includes any person who
 3
      uses any instrumentality of interstate commerce or the mails in any business the
 4
 5     principal purpose of which is the enforcement of security interests. The term does
 6
      not include --
 7
 8
      (A) any officer or employee of a creditor while, in the name of the creditor,
 9
      collecting debts for such creditor;
10
11
      (B) any person while acting as a debt collector for another person, both of whom
12
13    are related by common ownership or affiliated by corporate control, if the person
14
      acting as a debt collector does so only for persons to whom it is so related or
15
16    affiliated and if the principal business of such person is not the collection of debts;

17
      (C) any officer or employee of the United States or any State to the extent that
18
19    collecting or attempting to collect any debt is in the performance of his official
20
      duties;
21
22
      (D) any person while serving or attempting to serve legal process on any other
23
24    person in connection with the judicial enforcement of any debt;

25
26    (E) any nonprofit organization which, at the request of consumers, performs bona

27    fide consumer credit counseling and assists consumers in the liquidation of their
28


                Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   4
     Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.882 Page 5 of 95



 1
      debts by receiving payments from such consumers and distributing such amounts

 2    to creditors; and
 3

 4    (F) any person collecting or attempting to collect any debt owed or due or asserted
 5
      to be owed or due another to the extent such activity (i) is incidental to a bona fide
 6

 7    fiduciary obligation or a bona fide escrow arrangement; (ii) concerns a debt which

 8
      was originated by such person; (iii) concerns a debt which was not in default at the
 9
      time it was obtained by such person; or (iv) concerns a debt obtained by such
10

11    person as a secured party in a commercial credit transaction involving the
12
      creditor." (emphasis mine).
13




17    lending, such as collecting installment payments, releasing liens, initiating
18
      foreclosure upon default, etc." Black's Law Dictionary, 61h Edition, page1012,
19

20    copyright 1990.
21

22                                        IV. BACKGROUND

23

24        Plaintiff allegedly obtained a residential home loan from CountrywideHome

25
      Loans, Inc. (Countrywide), for which a Deed of Trust (DOT), was recorded against
26
      Plaintiff's real property located at 15335 Castle Peak Lane, Jamul, CA 91935 on
27

28    or about 27 December 2004.


              Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   5
     Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.883 Page 6 of 95



 1       On 1 March 2009, Plaintiff allegedly defaulted on the alleged loan.                    On 7

 2    January 20 14, Plaintiff received two letters, Exhibit TAC-4.1 & TAC-4.2, from
 3
      Resurgent Capital Services, L.P. (Resurgent). The first letter was a demand for
 4
 5    payment and the second letter stated Resurgent had acquired the servicing rights of
 6
      Plaintiffs allegedly defaulted loan and demanded payment.
 7
 8       On 3 1 January 20 14, Plaintiff sent Resurgent a debt validation letter, Exhibit
 9
      TAC-5 within 30 days of correspondence receipt but received no response.
10
11
         On 4 March 20 1 4, Plaintiff received a letter, Exhibit TAC-6 o f merger between
12
13    Resurgent and Shellpoint Mortgage Servicing, a division of New Penn Financial,
14
      LLC (Shellpoint).
15
16
         On 3 1 March 20 14, Plaintiff sent Shellpoint a second letter of Request For
17
      Debt Validation (RFDV) disputing the amount, and validity of the debt, the "debt
18
19    collector" Shellpoint claims it was owed, cloaking itself in the vail of "Servicer" of
20
      the alleged note, Exhibit TAC-7 which is a fraudulent misrepresentation, within 30
21
22    days of correspondence receipt.
23
24       In response, Shellpoint merely provided false and misleading Qualified Written

25    Request (QWR) documentation, Exhibit TAC-9 instead o f the requested
26
      authenticated, account-level documents verifying the amount, validity of the debt,
27
28    and the true "Creditor's" name and address.


              Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   6
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                                  V. FACTUAL ALLEGATIONS
 1
 2
         For the past 1 2 months prior to the filing of this suit, Defendant sent seven (7)
 3
 4    demand letters for payment without providing Plaintiff his requested account-level
 5
      documentation, dishonoring Plaintiffs requests to this day. Defendant continues
 6
 7    to violate FDCPA § 809(a)(1)(2)(3)(4)(5)(b)(c)(d)(e) Validation of debts, 15

 8    U.S.C. § l 692g(b) seven (7) times, and Rosenthal Act and violated CCC § 1788. 1 7,
 9
      Compliance with federal provisions, seven (7) times as part of Defendant's
10
11    fraudulent scheme.
12
13       During this law suit proceedings, Defendant has violated the above cited laws
14
      two (2) additional times for a total of nine (9) times without providing Plaintiff
15
16    with RFDV as expressly requested. Plaintiff continues to suffer Defendant's

17    intimidation, coercion and duress tactics, which are illegal and shows Defendant's
18
      willfulness to disregard both federal and state statutes for self-enrichment by
19
20    continuing this fraudulent scheme.
21
22       Defendant's corrupt conduct and multiple violations of federal and state laws is
23
      causing, and has caused, Plaintiff the following damages:
24
25         a. C onsiderable personal expenses directly relating to the failure of
26
              Plaintiffs business with the right for further documentation to be
27
28            submitted to the Court;


              Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   7
     Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.885 Page 8 of 95



 1          b. Personal expenses related to seeking a remedy to these proceedings with

 2             the right for further documentation to be submitted to the Court;
 3
            c. Substantially diminished credit score and credit reputation with the right
 4
 5              for further documentation to be submitted to the Court;
 6
            d. Plaintiffs ability to obtain credit or new employment has b een impeded
 7
 8              due to these proceedings.

 9
10
11
                                                VI.COUNT
12
13
                                 FDCPA, CCC and Fraud Violations
14
15
          Plaintiff re-alleges each allegation stated above to include Defendant sending
16
17    Plaintiff fraudulent documents stating that Defendant is the "Servicer", Exhibit

18    TAC-8. 1 , TAC-8.2, TAC 8.3 & TAC 8.4, instead of Defendant's actual identity,
19
      which this Honorable Court has determined is no more than a 'debt collector', see
20
21    Exhibit TAC-3, page 1 0 o f 1 5 , lines 1 0- 1 1 , which states: " . . . the Court concludes
22
      that Defendant qualifies as a debt collector under the FDCPA".                     Defendant' s
23
24    honesty and integrity are now called into question, and their motive for vailing

25    themselves in a position of authority the Defendant's had no legal right to do, other
26
      than to justify their self-enrichment scheme and fraudulent deceptive practice.
27
28


               Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   8
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 1        Defendants furthered the fraud by knowingly withholding Plaintiffs requested

 2    RFDV information showing who the "Creditor" really is.                   Today, Defendant
 3
      cannot provide Plaintiff, nor this Honorable Court, with RFDV documentation
 4
 5    showing the "Creditor" and amount owed that Plaintiff requested.
 6
 7        Plaintiff claims that Defendant is committing fraud against Plaintiff, for their

 8    actions meeting the threshold requirements for Fraud and Deceit as stipulated in
 9
      American Jurisprudence 2d, §23          Fraud action,    which states: "The jive traditional
10
11    elements of fraud, each of which must be established by evidence that is not
12
      equally consistent with either honesty or deceit include: a false representation; in
13
14    reference to a material fact; made with knowledge of its falsity; with the intent to

15    deceive; and on which an action is taken in justifiable reliance upon the
16
      representation." (emphasis mine).
17
18
          Each of the elements above Defendant has committed against Plaintiff.
19
20
          Defendant refuses to this day to provide the Plaintiff with the RFDV expressly
21
22    requested. Defendant only provides Plaintiff with QWR documents that state in
23
      them Defendant is the "Servicer", Exhibit TAC-9, of the note which is a fG,lse
24
      representation. See, Charpentier v. Los Angeles Rams Football Co., Inc., 75 Cal.
25
26    App. 4th 30 1 , 89 Cal. Rptr. 2d 1 1 5 (41h Dist. 1 999), review denied, (Jan. 25, 2000).
27
28


               Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   9
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 7        The material fact is, Defendant knew it was only a "debt collector" as

 8    stipulated in FDCPA § 803(6) Definitions and 1 5 U.S.C. 1 692a(6), the entire time
 9
      and fought to keep itself vailed in the false cloak of being the "Servicer" during
10
11    these proceedings, that is until the Honorable Court settled the issue by stipulating
12
      i n Exhibit TAC-3 , page 1 0 of 1 5 , lines 1 0- 1 1 , stating: " . . . the Court concludes that
13
14    Defendant qualifies as a debt collector under the FDCPA."

15
16        With Defendant's professional experience i n the mortgage servicing business,

17    Defendant knows what the definitions of "Creditor", "Servicer", and "Debt
18
      Collector" are in the FDCPA, CCC and Black' s Law Dictionary 61h Edition.
19
20    Defendant had no power or authority as a "debt collector" to file foreclosure
21
      paperwork against Plaintiff.              Defendant continues the fraud and charade
22
23 perpetrated against Plaintiff for Defendants self-enrichment for Defendant cannot
24    tell Plaintiff who the real "Creditor" is in this matter, nor who Defendant would
25
      send the mortgage payment to, for Defendant has yet to honor my RFDV request.
26
27
28


               Mayen   v   Shellpoint   (Third Am.ended Verified Complaint for Damages)   -   10
     Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.888 Page 11 of 95



 1       Defendant, knowing it is only a "Debt Collector", and not the "Servicer" of the

 2    alleged mortgage loan, refused to acknowledge it to Plaintiff in any of its
 3
      correspondence with Plaintiff prior to the Court Order and continues to do so,
 4
 5    Exhibit TAC-8. 1 , TAC-8.2, TAC-8.3 & TAC-8.4. Although the Honorable Court
 6
      stipulated in the Court Order that the Defendant was a "Debt Collector"; Defendant
 7
 8    continues to hide behind the false vail o f "Servicer" on Plaintiff's mortgage note

 9    and/ or DOT.
10
11       Defendant' s intent to deceive is shown in its continued false portrayal of itself
12
      as being the "Servicer" of Plaintiff's mortgage note, and using that fraudulent vail
13
14    to file fraudulent foreclosure paperwork against Plaintiff.               Defendant even

15    defrauded the state office where Defendant knowingly filed fraudulent paperwork
16
      with the state, knowing it was only a "Debt Collector".
17
18
         Defendant's fraudulent scheme of availing itself as the "Servicer" to foreclose
19
20    on Plaintiff justified its action by relying upon the fraudulent representations it
21
      provided state offices in its fraudulent filing as the "Servicer" and all the
22
23    correspondence with the Plaintiff claiming to be the "Servicer" when it knew in

24    fact they were only a "Debt Collector", and a violation of the FDCPA §803(6).
25
      Defendant continued the "Servicer" faint in court even after the Honorable Judge
26
27
28


             Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   11
     Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.889 Page 12 of 95




 1 exposed their true and genuine title, and financial position as merely a "Debt

 2    Collector."
 3
 4
 5
 6                                      VII. CONCLUSION
 7
 8       Plaintiff has demonstrated that Defendant fraudulently presented foreclosure
 9
      paperwork to California state offices vailing itself as the "Servicer" of Plaintiffs
10
11    mortgage when Defendant knew it was only a "Debt Collector."                  Defendant

12    knowingly filed fraudulent federal documents by stating it was the "Servicer" of
13
      Plaintiffs mortgage note and/ or DOT, when Defendant knew it was only a "Debt
14
15    Collector."     Definition of "Debt Collector" in both state and federal laws are

16    defined clearly with no ambiguity in either the FDCPA and CCC.
17
18        Defendant's fraudulent self-misrepresentation and fraudulent documentation
19
20    violates     FDCPA      §803(6)    Definitions;   §807(5)(10)    False   or   misleading

21    representations; 15 U.S.C. §1692a(6) Definitions; 15 U.S.C. §1692e(5)(10) False
22
      or misleading representations; CCC § 1788.2(b)(c) Definitions; and CCC
23
24    § 1788.13(1) Misrepresentations in communications; unlawful practices, and denies

25    Defendant the power or authority to foreclose on Plaintiffs property.
26
27
28

                 Mayen v Shellpoint (Third Amended Verified Complaint for Damages) - 12
     Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.890 Page 13 of 95



 1
 2
 3
 4
                                              VIII. PRAYER
 5
 6
         Pl aintiff humbl y requests this Honorable Court grant the foll owing:
 7
 8
          1 . All forecl osure proceedings be quashed and dismissed with prejudice.
 9
10        2. Plaintiff be award actual damages pursuant to FDCPA §813(1); 15 U.S.C.

11            1692k(l ) in the amount of$2,000,000.00.
12
          3. Pl aintiff be award additional damages pursuant to FDCPA §813(2); 15
13
14           U.S.C. 1692k(2) in the amount of$2,500.00 per incident.
15
16
17              Respectfully submitted this 10h1 day of September 2018.

18
19
20                                                                yen, Pl aintiff, Pr Se
21                                                                stle Peak Lane
                                                          Jamul, CA 91935
22                                                        619-669-9904
23                                                        ekultan@gmail.com
24
25
26
27
28


              Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   13
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 1                                     VERIFICATION
 2
 3    The undersigned, for himself declares:
 4
 5       I am the Plaintiff in the above-entitled action. I have read the forgoing
 6    complaint and know the contents thereof. With respect to the causes of action
 7    alleged by me, the same is true by my own knowledge, except as to those
 8    matters which are therein stated on information and belief, and, as to those
 9    matters, I believe them to be true.
10
11      I declare under penalty of perjury under the laws of the United State of
      America, that the forgoing is true and correct.
12
13    Date: September 10, 2018
14
15                                                         ayen, Plaintiff~
16                                                        Castle Peak Larr
                                                    Jamul, CA 91935
17                                                  619-669-9904
18                                                  ekultan@gmail.com

19
20
21
22
23
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              Mayen v Shellpoint (Third Amended Verified Complaint for Damages) - 14
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 1                                           Proof of Service

 2

 3     I, Julio Mayen, certify that I have served CMRRR a copy of:
 4       1 - Plaintiff's Third Amended Complaint, with Exhibits, against Defendant

 5    New Penn Financial, LLC, dba Shellpoint Mortgage Servicing (Shellpoint),                   on
 6     September 10, 2018 by First Class USMail to:
 7

 8

 9
       AKERMAN LLP                                          Attorneys for Defendant
       PRESTONK. ASCHERIN (SBN260361)                       New PennFinancial, LLC, dba
10     Email: preston.ascherin@akerman.com                  Shellpoint Mortgage Servicing
11     PARISAJASSIM (SBN273915)                             (Shellpoint)
       Email: parisa.jassim@akerman.com
12
       601 West Fifth Street, Suite 300
13     Los Angeles, California 90071
       Telephone: (213) 688-9500
14
       Facsimile: (213) 627-6342
15

16

17

18                                                               ayen, Plaintiff,
                                                                Castle Peak Lane
19                                                        Jamul, CA 91935
20                                                        6 19-669-9904
                                                          ekultan@gmail.com
21

22

23

24

25

26

27

28


              Mayen   v   Shellpoint   (Third Amended Verified Complaint for Damages)   -   15
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                    Exhibit TAC-1
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.894 Page 17 of 95




  Fair Debt Collection Practices Act
  FAIR DEBT COLLECTION PRACTICES ACT
 ---------------------'



 As amended by Public Law 111-203, title X, 124 Stat. 2092 (2010)
 As a public service, the staff of the Federal Trade Commission (FTC) has prepared the following
 complete text of the Fair Debt Collection Practices Act

  § § 1692-1692p.

 Please note that the format of the text differs in minor ways from the U.S. Code and West's U.S.
 Code Annotated. For example, this version uses FDCPA section numbers in the headings. In
 addition, the relevant U.S. Code citation is included with each section heading. Although the
 staff has made every effort to transcribe the statutory material accurately, this compendium is
 intended as a convenience for the public and not a substitute for the text in the U.S. Code.

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 §80 l. Short title
  §802. Congressional findings and declaration of purpose
 .§Jl03. Definitions
 fill04 . Acquisition of location information
 §805. Communication in connection with debt collection
 §_80Q. Harassment or abuse
 §807. False or misleading representations
 §808. Unfair practices
 §809. Validation of debts
 §810. Multiple debts
  §fill. Legal actions by debt collectors
 §.ll1 2. Furnishing certain deceptive forms
 §B 13. Civil liability
 §BH. Administrative enforcement
 §JU;).. Reports to Congress by the Bureau; views of other Federal agencies
 §816. Relation to State laws
 §817. Exemption for State regulation
 fill.Hi. Exception for certain bad check enforcement programs operated by private entities
 §.�12. Effective date

 15 USC 1601 note

 § 801.   Short Title
 This subchapter may be cited as the "Fair Debt Collection Practices Act."

 15 USC 1692

 § 802.    Congressional findings and declarations of purpose
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 (a) Abusive practices
 There is abundant evidence of the use of abusive, deceptive, and unfair debt collection practices
 by many debt collectors. Abusive debt collection practices contribute to the number of personal
 bankruptcies, to marital instability, to the loss ofjobs, and to invasions of individual privacy.

  (b) Inadequacy of laws
  Existing laws and procedures for redressing these injuries are inadequate to protect consumers.

 (c) Available non-abusive collection methods
 Means other than misrepresentation or other abusive debt collection practices are available for
 the effective collection of debts.

 (d) Interstate commerce
 Abusive debt collection practices are carried on to a substantial extent in interstate commerce
 and through means and instrumentalities of such commerce. Even where abusive debt collection
 practices are purely intrastate in character, they nevertheless directly affect interstate commerce.

 (e) Purposes
 It is the purpose of this subchapter to eliminate abusive debt collection practices by debt
 collectors, to insure that those debt collectors who refrain from using abusive debt collection
 practices are not competitively disadvantaged, and to promote consistent State action to protect
 consumers against debt collection abuses.

 15 USC 1692a

 § 803.   Definitions
 As used in this subchapter --

 (1) The term "Bureau" means the Bureau of Consumer Financial Protection.

 (2) The term "communication" means the conveying of information regarding a debt directly or
 indirectly to any person through any medium.

 (3) The term "consumer" means any natural person obligated or allegedly obligated to pay any
 debt.

 (4) The term "creditor" means any person who offers or extends credit creating a debt or to
 whom a debt is owed, but such term does not include any person to the extent that he receives an
 assignment or transfer of a debt in default solely for the purpose of facilitating collection of such
 debt for another.

 (5) The term "debt" means any obligation or alleged obligation of a consumer to pay money
 arising out of a transaction in which the money, property, insurance or services which are the
 subject of the transaction are primarily for personal, family, or household purposes, whether or
 not such obligation has been reduced to judgment.

 (6) The term "debt collector" means any person who uses any instrumentality of interstate
 commerce or the mails in any business the principal purpose of which is the collection of any
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.896 Page 19 of 95



 debts, or who regularly collects or attempts to collect, directly or indirectly, debts owed or due or
 asserted to be owed or due another. Notwithstanding the exclusion provided by clause (F) of the
 last sentence of this paragraph, the term includes any creditor who, in the process of collecting
 his own debts, uses any name other than his own which would indicate that a third person is
 collecting or attempting to collect such debts. For the purpose of section 1692f(6) of this title,
 such term also includes any person who uses any instrumentality of interstate commerce or the
 mails in any business the principal purpose of which is the enforcement of security interests. The
 term does not include --

 (A) any officer or employee of a creditor while, in the name of the creditor, collecting debts for
 such creditor;

 (B) any person while acting as a debt collector for another person, both of whom are related by
 common ownership or affiliated by corporate control, if the person acting as a debt collector does
 so only for persons to whom it is so related or affiliated and if the principal business of such
 person is not the collection of debts;

 (C) any officer or employee of the United States or any State to the extent that collecting or
 attempting to collect any debt is in the performance of his official duties;

 (D) any person while serving or attempting to serve legal process on any other person in
 connection with the judicial enforcement of any debt;

 (E) any nonprofit organization which, at the request of consumers, performs bona fide consumer
 credit counseling and assists consumers in the liquidation of their debts by receiving payments
 from such consumers and distributing such amounts to creditors; and

 (F) any person collecting or attempting to collect any debt owed or due or asserted to be owed or
 due another to the extent such activity (i) is incidental to a bona fide fiduciary obligation or a
 bona fide escrow arrangement; (ii) concerns a debt which was originated by such person; (iii)
 concerns a debt which was not in default at the time it was obtained by such person; or (iv)
 concerns a debt obtained by such person as a secured party in a commercial credit transaction
 involving the creditor.

 (7) The term "location information" means a consumer's place of abode and his telephone
 number at such place, or his place of employment.

 (8) The term "State" means any State, territory, or possession of the United States, the District of
 Columbia, the Commonwealth of Puerto Rico, or any political subdivision of any of the
 foregoing.

 15 USC 1692b

 § 804.   Acquisition of location information
 Any debt collector communicating with any person other than the consumer for the purpose of
 acquiring location information about the consumer shall --
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 (1) identify himself, state that he is confirming or correcting location information concerning the
 consumer, and, only if expressly requested, identify his employer;

  (2) not state that such consumer owes any debt;

 (3) not communicate with any such person more than once unless requested to do so by such
 person or unless the debt collector reasonably believes that the earlier response of such person is
 erroneous or incomplete and that such person now has correct or complete location information;

 (4) not communicate by post card;

 (5) not use any language or symbol on any envelope or in the contents of any communication
 effected by the mails or telegram that indicates that the debt collector is in the debt collection
 business or that the communication relates to the collection of a debt; and

 (6) after the debt collector knows the consumer is represented by an attorney with regard to the
 subject debt and has knowledge of, or can readily ascertain, such attorney's name and address,
 not communicate with any person other than that attorney, unless the attorney fails to respond
 within a reasonable period of time to communication from the debt collector.

 15 USC 1692c

 § 805.   Communication in connection with debt collection
 (a) Communication with the consumer generally
 Without the prior consent ofthe consumer given directly to the debt collector or the express
 permission of a court of competent jurisdiction, a debt collector may not communicate with a
 consumer in connection with the collection of any debt --

 (1) at any unusual time or place or a time or place known or which should be known to be
 inconvenient to the consumer. In the absence of knowledge of circumstances to the contrary, a
 debt collector shall assume that the convenient time for communicating with a consumer is after
 8 o'clock antemeridian and before 9 o'clock postmeridian, local time at the consumer's location;

 (2) if the debt collector knows the consumer is represented by an attorney with respect to such
 debt and has knowledge of, or can readily ascertain, such attorney's name and address, unless the
 attorney fails to respond within a reasonable period of time to a communication from the debt
 collector or unless the attorney consents to direct communication with the consumer; or

 (3) at the consumer's place of employment ifthe debt collector knows or has reason to know that
 the consumer's employer prohibits the consumer from receiving such communication.

 (b) Communication with third parties
 Except as provided in section l 692b of this title, without the prior consent of the consumer given
 directly to the debt collector, or the express permission of a court of competent jurisdiction, or as
 reasonably necessary to effectuate a postjudgment judicial remedy, a debt collector may not
 communicate, in connection with the collection of any debt, with any person other than the
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 consumer, his attorney, a consumer reporting agency if otherwise permitted by law, the creditor,
 the attorney of the creditor, or the attorney of the debt collector.

 (c) Ceasing communication
 If a consumer notifies a debt collector in writing that the consumer refuses to pay a debt or that
 the consumer wishes the debt collector to cease further communication with the consumer, the
 debt collector shall not communicate further with the consumer with respect to such debt, except


 (I) to advise the consumer that the debt collector's further efforts are being terminated;

 (2) to notify the consumer that the debt collector or creditor may invoke specified remedies
 which are ordinarily invoked by such debt collector or creditor; or

 (3) where applicable, to notify the consumer that the debt collector or creditor intends to invoke a
 specified remedy.

 If such notice from the consumer is made by mail, notification shall be complete upon receipt.

 (d) "Consumer" defined
 For the purpose of this section, the term "consumer" includes the consumer's spouse, parent (if
 the consumer is a minor), guardian, executor, or administrator.

 15 USC 1692d

 § 806.    Harassment or abuse
 A debt collector may not engage in any conduct the natural consequence of which is to harass,
 oppress, or abuse any person in connection with the collection of a debt. Without limiting the
 general application of the foregoing, the following conduct is a violation of this section:

 (1) The use or threat of use of violence or other criminal means to harm the physical person,
 reputation, or property of any person.

 (2) The use of obscene or profane language or language the natural consequence of which is to
 abuse the hearer or reader.

 (3) The publication of a list of consumers who allegedly refuse to pay debts, except to a
 consumer reporting agency or to persons meeting the requirements of section 1681a(f) or
 168lb(3}' of this title.

 (4) The advertisement for sale of any debt to coerce payment of the debt.

 ( 5) Causing a telephone to ring or engaging any person in telephone conversation repeatedly or
 continuously with intent to armoy, abuse, or harass any person at the called number.

 (6) Except as provided in section l 692b of this title, the placement of telephone calls without
 meaningful disclosure of the caller's identity.
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 15 USC 1692e

 § 807.   False or misleading representations
 A debt collector may not use any false, deceptive, or misleading representation or means in
 connection with the collection of any debt. Without limiting the general application of the
 foregoing, the following conduct is a violation of this section:

 (1) The false representation or implication that the debt collector is vouched for, bonded by, or
 affiliated with the United States or any State, including the use of any badge, uniform, or
 facsimile thereof.

 (2) The false representation of --

 (A) the character, amount, or legal status of any debt; or

 (B) any services rendered or compensation which may be lawfully received by any debt collector
 for the collection of a debt.

 (3) The false representation or implication that any individual is an attorney or that any
 communication is from an attorney.

 (4) The representation or implication that nonpayment of any debt will result in the arrest or
 imprisonment of any person or the seizure, garnishment, attachment, or sale of any property or
 wages of any person unless such action is lawful and the debt collector or creditor intends to take
 such action.

 (5) The threat to take any action that cannot legally be taken or that is not intended to be taken.

 (6) The false representation or implication that a sale, referral, or other transfer of any interest in
 a debt shall cause the consumer to --

 (A) lose any claim or defense to payment of the debt; or

 (B) become subject to any practice prohibited by this subchapter.

 (7) The false representation or implication that the consumer committed any crime or other
 conduct in order to disgrace the consumer.

 (8) Communicating or threatening to communicate to any person credit information which is
 known or which should be known to be false, including the failure to communicate that a
 disputed debt is disputed.

 (9) The use or distribution of any written communication which simulates or is falsely
 represented to be a document authorized, issued, or approved by any court, official, or agency of
 the United States or any State, or which creates a false impression as to its source, authorization,
 or approval.
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  (I0) The use of any false representation or deceptive means to collect or attempt to collect any
  debt or to obtain information concerning a consumer.

 (11) The failure to disclose in the initial written communication with the consumer and, in
 addition, if the initial communication with the consumer is oral, in that initial oral
 communication, that the debt collector is attempting to collect a debt and that any information
 obtained will be used for that purpose, and the failure to disclose in subsequent communications
 that the communication is from a debt collector, except that this paragraph shall not apply to a
 formal pleading made in connection with a legal action.

 (12) The false representation or implication that accounts have been turned over to innocent
 purchasers for value.

 (13) The false representation or implication that documents are legal process.

 (14) The use of any business, company, or organization name other than the true name of the
 debt collector's business, company, or organization.

 (15) The false representation or implication that documents are not legal process forms or do not
 require action by the consumer.

 (16) The false representation or implication that a debt collector operates or is employed by a
 consumer reporting agency as defined by section 168la(f) of this title.

 15 USC 1692f

 § 808.    Unfair practices
 A debt collector may not use unfair or unconscionable means to collect or attempt to collect any
 debt. Without limiting the general application of the foregoing, the following conduct is a
 violation of this section:

 (I) The collection of any amount (including any interest, fee, charge, or expense incidental to the
 principal obligation) unless such amount is expressly authorized by the agreement creating the
 debt or permitted by law.

 (2) The acceptance by a debt collector from any person of a check or other payment instrument
 postdated by more than five days unless such person is notified in writing of the debt collector's
 intent to deposit such check or instrument not more than ten nor less than three business days
 prior to such deposit.

 (3) The solicitation by a debt collector of any postdated check or other postdated payment
 instrument for the purpose of threatening or instituting criminal prosecution.

 (4) Depositing or threatening to deposit any postdated check or other postdated payment
 instrument prior to the date on such check or instrument.
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 (5) Causing charges to be made to any person for communications by concealment of the true
 purpose of the communication. Such charges include, but are not limited to, collect telephone
 calls and telegram fees.

 (6) Taking or threatening to take any nonjudicial action to effect dispossession or disablement of
 property if --

 (A) there is no present right to possession ofthe property claimed as collateral through an
 enforceable security interest;

  (B) there is no present intention to take possession of the property; or

 (C) the property is exempt by law from such dispossession or disablement.

  (7) Communicating with a consumer regarding a debt by post card.

 (8) Using any language or symbol, other than the debt collector's address, on any envelope when
 communicating with a consumer by use of the mails or by telegram, except that a debt collector
 may use his business name if such name does not indicate that he is in the debt collection
 business.

 15 USC 1692g

 § 809.    Validation of debts
 (a) Notice of debt; contents
 Within five days after the initial communication with a consumer in connection with the
 collection of any debt, a debt collector shall, unless the following information is contained in the
 initial communication or the consumer has paid the debt, send the consumer a written notice
 containing --

 (1) the amount of the debt;

 (2) the name of the creditor to whom the debt is owed;

 (3) a statement that unless the consumer, within thirty days after receipt of the notice, disputes
 the validity of the debt, or any portion thereof, the debt will be assumed to be valid by the debt
 collector;

 (4) a statement that ifthe consumer notifies the debt collector in writing within the thirty-day
 period that the debt, or any portion thereof, is disputed, the debt collector will obtain verification
 of the debt or a copy of a judgment against the consumer and a copy of such verification or
 judgment will be mailed to the consumer by the debt collector; and

 (5) a statement that, upon the consumer's written request within the thirty-day period, the debt
 collector will provide the consumer with the name and address of the original creditor, if
 different from the current creditor.
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 (b) Disputed debts
 Ifthe consumer notifies the debt collector in writing within the thirty-day period described in
 subsection (a) ofthis section that the debt, or any portion thereof, is disputed, or that the
 consumer requests the name and address of the original creditor, the debt collector shall cease
 collection of the debt, or any disputed portion thereof, until the debt collector obtains verification
 of the debt or a copy of a judgment, or the name and address of the original creditor, and a copy
 of such verification or judgment, or name and address of the original creditor, is mailed to the
 consumer by the debt collector. Collection activities and communications that do not otherwise
 violate this subchapter may continue during the 30-day period referred to in subsection (a) unless
 the consumer has notified the debt collector in writing that the debt, or any portion of the debt, is
 disputed or that the consumer requests the name and address of the original creditor. Any
 collection activities and communication during the 30-day period may not overshadow or be
 inconsistent with the disclosure of the consumer's right to dispute the debt or request the name
 and address of the original creditor.

 (c) Admission of liability
 The failure of a consumer to dispute the validity of a debt under this section may not be
 construed by any court as an admission of liability by the consumer.

 (d) Legal pleadings
 A communication in the form of a formal pleading in a civil action shall not be treated as an
 initial communication for purposes of subsection (a).

 (e) Notice provisions
 The sending or delivery of any form or notice which does not relate to the collection of a debt
 and is expressly required by title 26, title V ofGranun-Leach-Bliley Act [15 U.S.C. 6801 et
 seq.], or any provision of Federal or State law relating to notice of data security breach or
 privacy, or any regulation prescribed under any such provision of law, shall not be treated as an
 initial communication in connection with debt collection for purposes of this section.

 15 USC 1692h

 § 810. Multiple debts
 If any consumer owes multiple debts and makes any single payment to any debt collector with
 respect to such debts, such debt collector may not apply such payment to any debt which is
 disputed by the consumer and, where applicable, shall apply such payment in accordance with
 the consumer's directions.

 15 USC 1692i

 § 811.   Legal actions by debt collecto:rs
 (a) Venue
 Any debt collector who brings any legal action on a debt against any consumer shall --

 (I) in the case of an action to enforce an interest in real property securing the consumer's
 obligation, bring such action only in a judicial district or similar legal entity in which such real
 property is located; or
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 (2) in the case of an action not described in paragraph (1), bring such action only in the judicial
 district or similar legal entity --

 (A) in which such consumer signed the contract sued upon; or

 (B) in which such consumer resides at the commencement of the action.

 (b) Authorization of actions
 Nothing in this subchapter shall be construed to authorize the bringing of legal actions by debt
 collectors.

 15 USC 1692j

 § 812.      Fur11ishi11g certain deceptive forms
 (a) It is unlawful to design, compile, and furnish any form knowing that such form would be
 used to create the false belief in a consumer that a person other than the creditor of such
 consumer is participating in the collection of or in an attempt to collect a debt such consumer
 allegedly owes such creditor, when in fact such person is not so participating.

 (b) Any person who violates this section shall be liable to the same extent and in the same
 manner as a debt collector is liable under section 1692k of this title for failure to comply with a
 provision of this subchapter.

 15 USC 1692k

 § 813.    Civil liability
 (a) Amount of damages
 Except as otherwise provided by this section, any debt collector who fails to comply with any
 provision of this subchapter with respect to any person is liable to such person in an amount
 equal to the sum of --

 (1) any actual damage sustained by such person as a result of such failure;

 (2) (A) in the case of any action by an individual, such additional damages as the court may
 allow, but not exceeding $1,000; or

 (B) in the case of a class action, (i) such amount for each named plaintiff as could be recovered
 under subparagraph (A), and (ii) such amount as the court may allow for all other class members,
 without regard to a minimum individual recovery, not to exceed the lesser of $500,000 or 1 per
 centum of the net worth of the debt collector; and

 (3) in the case of any successful action to enforce the foregoing liability, the costs of the action,
 together with a reasonable attorney's fee as determined by the court. On a finding by the court
 that an action under this section was brought in bad faith and for the purpose of harassment, the
 court may award to the defendant attorney's fees reasonable in relation to the work expended and
 costs.
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  (b) Factors considered by court
  In determining the amount of liability in any action under subsection (a) of this section, the court
  shall consider, among other relevant factors --

 (I) in any individual action under subsection (a)(2)(A) of this section, the frequency and
 persistence of noncompliance by the debt collector, the nature of such noncompliance, and the
 extent to which such noncompliance was intentional; or

 (2) in any class action under subsection (a)(2)(B) of this section, the frequency and persistence of
 noncompliance by the debt collector, the nature of such noncompliance, the resources of the debt
 collector, the number of persons adversely affected, and the extent to which the debt collector's
 noncompliance was intentional.

 (c) Intent
 A debt collector may not be held liable in any action brought under this subchapter if the debt
 collector shows by a preponderance of evidence that the violation was not intentional and
 resulted from a bona fide error notwithstanding the maintenance of procedures reasonably
 adapted to avoid any such error.

 (d) Jurisdiction
 An action to enforce any liability created by this subchapter may be brought in any appropriate
 United States district court without regard to the amount in controversy, or in any other court of
 competent jurisdiction, within one year from the date on which the violation occurs.

 (e) Advisory opinions of Bureau
 No provision of this section imposing any liability shall apply to any act done or omitted in good
 faith in conformity with any advisory opinion ofthe Bureau, notwithstanding that after such act
 or omission has occurred, such opinion is amended, rescinded, or determined by judicial or other
 authority to be invalid for any reason.

  15 USC 16921

  § 814.    Administrative enforcement
 (a) Federal Trade Commission
 The Federal Trade Commission shall be authorized to enforce compliance with this subchapter,
 except to the extent that enforcement of the requirements imposed under this subchapter is
 specifically committed to another Government agency under any of paragraphs (1) through (5) of
 subsection (b), subject to subtitle B of the Consumer Financial Protection Act of2010 [12 U.S.C.
 5511 et seq.]. For purpose of the exercise by the Federal Trade Commission of its functions and
 powers under the Federal Trade Commission Act (15 U.S.C. 41 et seq.), a violation ofthis
 subchapter shall be deemed an unfair or deceptive act or practice in violation of that Act. All of
 the functions and powers of the Federal Trade Commission under the Federal Trade Commission
 Act are available to the Federal Trade Commission to enforce compliance by any person with
 this subchapter, irrespective of whether that person is engaged in commerce or meets any other
 jurisdictional tests under the Federal Trade Commission Act, including the power to enforce the
 provisions of this subchapter, in the same marmer as if the violation had been a violation of a
 Federal Trade Commission trade regulation rule.
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 (b) Applicable provisions of law
 Subject to subtitle B of the Consumer Financial Protection Act of 2010, compliance with any
 requirements imposed under this subchapter shall be enforced under--

 (1) section 8 of the Federal Deposit Insurance Act [12 U.S.C. 1818], by the appropriate Federal
 banking agency, as defined in section 3(q) of the Federal Deposit Insurance Act (12 U.S.C.
 1813(q)), with respect to--

 (A) national banks, Federal savings associations, and Federal branches and Federal agencies of
 foreign banks;

 (B) member banks of the Federal Reserve System (other than national banks), branches and
 agencies of foreign banks (other than Federal branches, Federal agencies, and insured State
 branches of foreign banks), commercial lending companies owned or controlled by foreign
 banks, and organizations operating under section 25 or 25A of the Federal Reserve Act [12
 U.S.C. 601 et seq., 611 et seq.]; and

 (C) banks and State savings associations insured by the Federal Deposit Insurance Corporation
 (other than members of the Federal Reserve System), and insured State branches of foreign
 banks;

 (2) the Federal Credit Union Act [12 U.S.C. 1751 et seq.], by the Administrator of the National
 Credit Union Administration with respect to any Federal credit union;

 (3) subtitle IV of title 49, by the Secretary of Transportation, with respect to all carriers subject
 to the jurisdiction of the Surface Transportation Board;

 (4) part A of subtitle VII of title 49, by the Secretary of Transportation with respect to any air
 carrier or any foreign air carrier subject to that part;

 (5) the Packers and Stockyards Act, 1921 [7 U.S.C. 181 et seq.] (except as provided in section
 406 of that Act [7 U.S.C. 226, 227]), by the Secretary of Agriculture with respect to any
 activities subject to that Act; and

 (6) subtitle E ofthe Consumer Financial Protection Act of2010 [12 U.S.C. 5561 et seq.], by the
 Bureau, with respect to any person subject to this subchapter. The terms used in paragraph (1)
 that are not defined in this subchapter or otherwise defined in section 3(s) of the Federal Deposit
 Insurance Act (12 U.S.C. 1813(s)) shall have the meaning given to them in section l(b) of the
 International Banking Act of 1978 (12 U.S.C. 3101).

 (c) Agency powers
 For the purpose of the exercise by any agency referred to in subsection (b) of this section of its
 powers under any Act referred to in that subsection, a violation of any requirement imposed
 under this subchapter shall be deemed to be a violation of a requirement imposed under that Act.
 In addition to its powers under any provision of law specifically referred to in subsection (b) of
 this section, each of the agencies referred to in that subsection may exercise, for the purpose of
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 enforcing compliance with any requirement imposed under this subchapter any other authority
 conferred on it by law, except as provided in subsection (d) of this section.

 (d) Rules and regulations
 Except as provided in section 1029(a) of the Consumer Financial Protection Act of2010 [12
 U.S.C. 5519(a)], the Bureau may prescribe rules with respect to the collection of debts by debt
 collectors, as defined in this subchapter.

 15 USC 1692m

 § 815.    Reports to Congress by the Bureau; views of other Federal
 a gendes
 (a) Not later than one year after the effective date of this subchapter and at one-year intervals
 thereafter, the Bureau shall make reports to the Congress concerning the administration of its
 functions under this subchapter, including such recommendations as the Bureau deems necessary
 or appropriate. In addition, each report of the Bureau shall include its assessment ofthe extent to
 which compliance with this subchapter is being achieved and a summary of the enforcement
 actions taken by the Bureau under section 1692/ of this title.

 (b) In the exercise of its functions under this subchapter, the Bureau may obtain upon request the
 views of any other Federal agency which exercises enforcement functions under section 16921 of
 this title.

 15 USC 1692n

 § 816.    Relation to State laws
 This subchapter does not annul, alter, or affect, or exempt any person subject to the provisions of
 this subchapter from complying with the laws of any State with respect to debt collection
 practices, except to the extent that those laws are inconsistent with any provision of this
 subchapter, and then only to the extent of the inconsistency. For purposes of this section, a State
 law is not inconsistent with this subchapter if the protection such law affords any consumer is
 greater than the protection provided by this subchapter.

 15 USC 16920

 § 817.    Exemption for State regulation
 The Bureau shall by regulation exempt from the requirements of this subchapter any class of
 debt collection practices within any State if the Bureau determines that under the law of that
 State that class of debt collection practices is subject to requirements substantially similar to
 those imposed by this subchapter, and that there is adequate provision for enforcement.

 § !H8. Exception for certain bad check enforcement programs
 operated by private entities
 (a) In general
 (1) Treatment of certain private entities
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 Subject to paragraph (2), a private entity shall be excluded from the definition of a debt collector,
 pursuant to the exception provided in section 1692a(6) of this title, with respect to the operation
 by the entity of a program described in paragraph (2)(A) under a contract described in paragraph
 (2)(B).

 (2) Conditions of applicability
 Paragraph (1) shall apply if--

 (A) a State or district attorney establishes, within the jurisdiction of such State or district attorney
 and with respect to alleged bad check violations that do not involve a check described in
 subsection (b), a pretrial diversion program for alleged bad check offenders who agree to
 participate voluntarily in such program to avoid criminal prosecution;

 (B) a private entity, that is subject to an administrative support services contract with a State or
 district attorney and operates under the direction, supervision, and control of such State or
 district attorney, operates the pretrial diversion program described in subparagraph (A); and

 (C) in the course of performing duties delegated to it by a State or district attorney under the
 contract, the private entity referred to in subparagraph (B)--

 (i) complies with the penal laws of the State;

 (ii) conforms with the terms of the contract and directives of the State or district attorney;

 (iii) does not exercise independent prosecutorial discretion;

 (iv) contacts any alleged offender referred to in subparagraph (A) for purposes of participating in
 a program referred to in such paragraph--

 (I) only as a result of any determination by the State or district attorney that probable cause of a
 bad check violation under State penal law exists, and that contact with the alleged offender for
 purposes of participation in the program is appropriate; and

 (II) the alleged offender has failed to pay the bad check after demand for payment, pursuant to
 State law, is made for payment of the check amount;

 (v) includes as part of an initial written communication with an alleged offender a clear and
 conspicuous statement that--

 (I) the alleged offender may dispute the validity of any alleged bad check violation;

 (II) where the alleged offender knows, or has reasonable cause to believe, that the alleged bad
 check violation is the result of theft or forgery of the check, identity theft, or other fraud that is
 not the result of the conduct of the alleged offender, the alleged offender may file a crime report
 with the appropriate law enforcement agency; and
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 (III) ifthe alleged offender notifies the private entity or the district attorney in writing, not later
 than 30 days after being contacted for the first time pursuant to clause (iv), that there is a dispute
 pursuant to this subsection, before further restitution efforts are pursued, the district attorney or
 an employee of the district attorney authorized to make such a determination makes a
 determination that there is probable cause to believe that a crime has been committed; and

 (vi) charges only fees in connection with services under the contract that have been authorized
 by the contract with the State or district attorney.

 (b) Certain checks excluded
 A check is described in this subsection if the check involves, or is subsequently found to involve-


 (1) a postdated check presented in connection with a payday loan, or other similar transaction,
 where the payee of the check knew that the issuer had insufficient funds at the time the check
 was made, drawn, or delivered;

 (2) a stop payment order where the issuer acted in good faith and with reasonable cause in
 stopping payment on the check;

 (3) a check dishonored because of an adjustment to the issuer's account by the financial
 institution holding such account without providing notice to the person at the time the check was
 made, drawn, or delivered;

 (4) a check for partial payment of a debt where the payee had previously accepted partial
 payment for such debt;

 (5) a check issued by a person who was not competent, or was not of legal age, to enter into a
 legal contractual obligation at the time the check was made, drawn, or delivered; or

 (6) a check issued to pay an obligation arising from a transaction that was illegal in the
 jurisdiction of the State or district attorney at the time the check was made, drawn, or delivered.

 (c) Definitions
 For purposes of this section, the following definitions shall apply:

 (1) State or district attorney
 The term "State or district attorney" means the chief elected or appointed prosecuting attorney in
 a district, county (as defined in section 2 of title 1 ), municipality, or comparable jurisdiction,
 including State attorneys general who act as chief elected or appointed prosecuting attorneys in
 a district, county (as so defined), municipality or comparable jurisdiction, who may be referred
 to by a variety of titles such as district attorneys, prosecuting attorneys, commonwealth's
 attorneys, solicitors, county attorneys, and state's attorneys, and who are responsible for the
 prosecution of State crimes and violations ofjurisdiction-specific local ordinances.

 (2) Check
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 The term "check" has the same meaning as in section 5002(6) of title 1 2.

 (3) Bad check violation
 The term "bad check violation" means a violation of the applicable State criminal law relating to
 the writing of dishonored checks.

  1 5 USC 1692 note

 § 819.     Effective date
 This title takes effect upon the expiration of six months after the date of its enactment, but
 section 809 shall apply only with respect to debts for which the initial attempt to collect occurs
 after such effective date. (September 20, 1 977)
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                    Exhibit TAC-2
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Cal iforn ia Fa i r Debt Col lection P ractices Act­
Rosenthal
§ 1788. Short title
This title may be cited as the California Rosenthal Fair Debt Collection Practices Act.


§ 1788.1. Legislative findings
(a) The Legislature makes the following findings:
(1) The banking and credit system and grantors of credit to consumers are dependent upon the collection of
just and owing debts. Unfair o r deceptive collection practices undermine the public confidence which is
essential to the continued functioning of the banking and credit system and sound extensions of credit to
consumers.
(2) There is need to ensure that debt collectors and debtors exercise their responsibilities to one another with
fairness, honesty and due regard for the rights of the other.
(b) It is the purpose of this title to prohibit debt collectors from engaging in unfair or deceptive acts or
practices in the collection of consumer debts and to require debtors to act fairly in entering into and honoring
such debts, as specified in this title.


Rosenthal              Fair Debt Collection Practices Act § 1 788.2.
Definitions
(a) Definitions a n d rules of construction set forth in this section are applicable for the purpose o f this title.
(b) The term "debt collection" means any act or practice in connection with the collection of consumer debts.
(c) The term "debt collector" means any person who, in the ordinary course of business, regularly, on behalf of
himself or herself or others, engages in debt collection. The term includes any person who composes and
sells, or offers to compose and sell, forms, letters, and other collection media used or intended to be used for
debt collection, but does not include an attorney or counselor at law.
(d) The term "debt" means money, property or their equivalent which is due or owing or alleged to be due or
owing from a natural person to another person.
(e) The term "consumer credit transaction" means a transaction between a natural person and another person
in which property, services or money is acquired on credit by that natural person from such other person
primarily for personal, family, or household p urposes.
(f) The terms "consumer debt" and "consumer credit" mean money, property or their equivalent, due or owing
or alleged to be due or owing from a natural person by reason of a consumer credit transaction.
(g) The term "person" means a natural person, partnership, corporation, limited liability company, trust, estate,
cooperative, association or other similar entity.
(h) Except as provided in Section 1788.18, the term "debtor" means a natural person from whom a debt
collector seeks to collect a consumer debt which is due and owing or alleged to be due and owing from such
person.
(i) The term "creditor" means a person who extends consumer credit to a debtor.
Ul The term "consumer credit report" means any written, oral or other communication of any information by a
consumer reporting agency bearing on a consumer's creditworthiness, credit standing, credit capacity,
character, general reputation, personal characteristics or mode of living which is used or expected to be used
or collected in whole or in part for the purpose of serving as a factor in establishing the consumer's eligibility
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for (1) credit or i nsurance to be used primarily for person, [FNl] family, or household purposes, or    (2)
e mployment purposes, or (3) other purposes authorized under any applicable federal or state law or
regulation. The term does not include (a) any report containing i nformation solely as to transactions or
experiences between the consumer and the person making the report; (b) any authorization or approval of a
specific extension of credit directly or indirectly by the issuer of a credit card or similar device; or (c) any report
in which a person who has been requested by a third party to make a specific extension of credit directly or
indirectly to a consumer conveys his or her decision with respect to that request, if the third party advises the
consumer of the name and address of the person to whom the request was made and such person makes the
d isclosures to the consumer required under any applicable federal or state law or regulation.
(k) The term "consumer reporting agency" means any person which, for monetary fees, dues, or on a
cooperative nonprofit basis, regularly engages, in whole or in part, in the practice of assembling or evaluating
consumer credit information or other information on consumers for the purpose of furnishing consumer
credit reports to third parties, and which uses any means or facility for the purpose of preparing or furnishing
consumer credit reports.


Rosenthal     Fair Debt Collection Practices Act § 1 788. 3.
C redit union; information to employer who is an employee,
officer, etc. of credit u nion
                                                                                                  5
Nothing contained i n this title shall b e construed to prohibit a credit union chartered under Division
(commencing with Section 14000) of the Financial Code or under the Federal Credit Union Act (Chapter
14 (commencing with Section 1751) of Title 12 of the United States Code) from providing information to
a n employer when the employer is ordinarily a n d necessarily entitled to receive such information
because he is an e m ployee, officer, committee m e m ber, or ag ent of such credit union.


Rosenthal   Fair Debt Collection Practices Act § 1 788. 1 0.
Threats; unlawful cond uct
No d e bt collector shall collect o r attempt to col lect a consumer debt by means of the following conduct:
(a) The use, or threat of use, of physical force or violence or any criminal means to cause harm to the person,
or the reputation, or the property of any person;
(b) The threat that the failure to pay a consumer debt will result in an accusation that the debtor has
committed a crime where such accusation, if made, would be false;
(c) The communication of, or threat to communicate to any person the fact that a debtor has engaged in
conduct, other than the failure to pay a consumer debt, which the debt collector knows or has reason to
believe will defame the debtor;
(d) The threat to the debtor to sell or assign to another person the obligation of the debtor to pay a consumer
debt, with an accompanying false representation that the result of such sale or assignment woul d be that the
debtor would lose any defense to the consumer debt;
(e) The threat to any person that nonpayment of the consumer debt may result in the arrest of the debtor or
the seizure, garnishment, attachment or sale of any property or the garnishment or attachment of wages of
the debtor, unless such action is in fact contemplated by the debt collector and permitted by the law; or
(f) The threat to take any action against the debtor which is prohibited by this title.
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Rosenthal Fair Debt Collection Practices Act § 1 788. 1 1 .
Obscene or profane language; use of telephones; u nlawful
practices
No debt collector shall collect or attempt to collect a consumer debt by means of the following practices:
(a) Using obscene or profane language;
(b) Placing telephone calls without d isclosure of the caller's identity, provided that an employee of a l icensed
collection agency may identify himself by using his registered alias name as long as he correctly identifies the
agency he represents;
(c) Causing expense to any person for long distance telephone calls, telegram fees or charges for other similar
communications, by misrepresenting to such person the purpose of such telephone call, telegram or similar
communication;
(d) Causing a telephone to ring repeatedly or continuously to annoy the person called; or
(e) Communicating, by telephone or in person, with the debtor with such frequency as to be unreasonable
and to constitute an harassment to the debtor under the circumstances.


RosenthalFair Debt Collection Practices Act § 1 788. 1 2 .
Communications with third parties; un lawful practices
No debt collector shall collect or attempt to collect a consumer debt by means of the following practices:
(a) Communicating with the debtor's employer regarding the debtor's consumer debt unless such a
communication is necessary to the collection of the debt, or unless the debtor or his attorney has consented
in writing to such communication. A communication is necessary to the collection of the debt only if it is
made for the purposes of verifying the debtor's employment, locating the debtor, or effecting garnishment,
after judgment, of the debtor's wages, or in the case of a medical debt for the purpose of discovering the
existence of medical insurance. Any such communication, other than a communication in the case of a
medical debt by a health care provider or its agent for the purpose of discovering the existence of medical
insurance, shall be in writing unless such written communication receives no response within 15 days and shall
be made only as many times as is necessary to the collection of the debt. Communications to a debtor's
employer regarding a debt shall not contain language that would be improper if the communication were
made to the debtor. One communication solely for the purpose of verifying the debtor's employment may be
oral without prior written contact.
(b) Communicating information regarding a consumer debt to any member of the debtor's family, other than
the debtor's spouse or the parents or guardians of the debtor who is either a minor or who resides in the
same household with such parent or guardian, prior to obtaining a judgment against the debtor, except where
the purpose of the communication is to locate the debtor, or where the debtor or his attorney has consented
in writing to such communication;
(c) Communicating to any person any list of debtors which discloses the nature or existence of a consumer
debt, commonly known as "deadbeat lists", or advertising any consumer debt for sale, by naming the debtor;
or
(d) Communicating with the debtor by means of a written communication that displays or conveys any
information about the consumer debt or the debtor other than the name, address and telephone number of
the debtor and the debt collector and which is intended both to be seen by any other person and also to
embarrass the debtor.
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(e) Notwithstanding the foregoing provisions of this section, the disclosure, publication or communication by
a debt collector of information relating to a consumer debt or the debtor to a consumer reporting agency or
to any other person reasonably believed to have a legitimate business need for such information shall not be
deemed to violate this title.


Rosenthal Fair Debt Collection Practices Act § 1 788. 1 3.
Misrepresentations i n communications; unlawful practices
No debt collector shall collect or attempt to collect a consumer debt by means of the following practices:
(a) Any communication with the debtor other than in the name either of the debt collector or the person on
whose behalf the debt collector is acting;
(b) Any false representation that any person is an attorney or counselor at law;
(c) Any communication with a debtor i n the name of an attorney or counselor at law or upon stationery or like
written instruments bearing the name of the attorney or counselor at law, unless such communication i s by an
attorney or counselor at law or shall have been approved or authorized by such attorney or counselor a t law;
(d) The representation that any debt collector is vouched for, bonded by, affiliated with, or is an
instrumentality, agent or official of any federal, state or local government or any agency of federal, state or
local government, unless the collector is actually employed by the particular governmental agency in q uestion
and is acting on behalf of such agency in the debt collection matter;
(e) The false representation that the consumer debt may be increased by the addition of attorney's fees,
investigation fees, service fees, finance charges, or other charges if, in fact, such fees or charges may not
legally be added to the existing obligation;
(f) The false representation that information concerning a debtor's failure or alleged failure to pay a consumer
debt has been or is about to be referred to a consumer reporting agency;
(g) The false representation that a debt collector is a consumer reporting agency;
(h) The false representation that collection letters, notices or other printed forms are being sent by or on
behalf of a claim, credit, audit or legal department;
(i) The false representation of the true nature of the business or services being rendered by the debt collector;
UJ The false representation that a legal proceeding has been, is about to be, or will be instituted unless
payment of a consumer debt is made;
(k) The false representation that a consumer debt has been, is about to be, or will be sold, assigned, or
referred to a debt collector for collection; or
(I) Any communication by a licensed collection agency to a debtor demanding money unless the claim is
actually assigned to the collection agency.


CREDIT(S)
(Added by Stats.1977, c. 907, p. 2771, § 1. Amended by Stats.1980, c. 1126, p. 3626, § 7.)
HISTORICAL AND STATUTORY NOTES
1998 Main Volume
The 1980 a mendment deleted former subd. (e); and relettered forme r subds.          (f) to (m) as s u bds. (e) to (I).
Former subd. (e) read:
"The use of any written communication which simulates or is falsely represented to be a document
authorized, issued o r a p p roved by a court o r agency of any federal, state o r local government;".
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Rosenthal   Fair Debt Collection Practices Act § 1 788. 1 4.
Affirmation from bankrupt; collection of col lector's fee and
expenses from debtor; communication with debtor instead of
debtor's attorney; unlawful practices
No debt collector shall collect or attempt to collect a consumer debt by mea ns of the following practices:
                                                                             ,
(a) Obtaining an affirmation from a debtor who has been adjudicated a bankrupt, of a consumer debt which
has been discharged in such bankruptcy, without clearly and conspicuously disclosing to the debtor, in
writing, at the time such affirmation is sought, the fact that the debtor is not legally obligated to make such
affirmation;
(b) Collecting or attempting to collect from the debtor the whole or any part of the debt collector's fee or
charge for services rendered, or other expense incurred by the debt collector in the collection of the consumer
debt, except as permitted by law; or
(c) Initiating communications, other than statements of account, with the debtor with regard to the consumer
debt, when the debt collector has been previously notified in writing by the debtor's attorney that the debtor
is represented by such attorney with respect to the consumer debt and such notice includes the attorney's
name and address and a request by such attorney that all communications regarding the consumer debt be
addressed to such attorney, unless the attorney fails to answer correspondence, return telephone calls, or
d iscuss the obligation in question, This subdivision shall not apply where prior approval has been obtained
from the debtor's attorney, or where the communication is a response in the ordinary course of business to a
debtor's inquiry,


Rosenthal    Fair Debt Collection Practices Act § 1 788. 1 5.
J udicial proceedings where service of process defective;
venue
(a) N o debt collector shall collect o r attempt to collect a consumer debt by means of judicial proceedings
when the debt collector knows that service of process, where essential to jurisdiction over the debtor or his
property, has not been legally effected,
(b) No debt collector shall collect or attempt to collect a consumer debt, qther than one reduced to judgment,
by means of judicial proceedings in a county other than the county in which the debtor has incurred the
consumer debt or the county in which the debtor resides at the time such proceedings are instituted, or
resided at the time the debt was incurred,

Rosenthal    Fair Debt Collection Practices Act § 1 788 . 1 6.
Comm u nications simulating legal or j udicial process or
governmental authorization; unlawful practice in consumer
debt col lection ; misdemeanor; punishment
It is u n lawful, with respect to attempted collection of a consumer d ebt, for a debt collector, creditor, o r
a n attorney, t o send a communication which simulates legal o r judicial process o r which gives the
appearance of being authorized, issued, o r approved b y a governmental agency or attorney when it is
not. Any violation of the provisions of this section is a misdemeanor punishable by i mprisonment in the
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county jail not exceeding six months, or by a fine not exceeding two thousand five hundred dollars
($2,500) or by both.


Rosenthal  Fair Debt Collection Practices Act § 1 788. 1 7.
Compl iance with federal provisions
N otwithstanding a n y other provision o f t h i s title, every d ebt collector collecting or atte mpting t o collect
a consumer de bt shall comply with the provisions of Sections 1692b to 1692j, inclusive, of, and shall be
subject to the remedies in Section 16921< of, Title 15 of the United States Code. However, subsection (11)
of Section 1692e and Section 1692g shall not apply to any person specified in paragraphs (A) and               (B) of
subsection (6) of Section 1692a of Title 1 5 of the United States Code or that person's principal. The
references to federal codes in this section refer to those codes as they read January 1, 2001.


Rosenthal    Fair Debt Collection Practices Act § 1 788. 1 8 .
Debtor as an al leged victim of identity theft; sworn
statement; inferences and presumptions; d uties after
collection terminated
(a) Upon receipt from a debtor of all of the following, a debt collector shall cease collection activities until
completion of the review provided in subdivision (d):
(1) A copy of a police report filed by the debtor alleging that the debtor is the victim of an identity theft crime,
including, but not limited to, a violation of Section 530.5 of the Penal Code, for the specific debt being
collected by the debt collector.
(2) The debtor's written statement that the debtor claims to be the victim of identity theft with respect to the
specific debt being collected by the debt collector.
(b) The written statement described in paragraph      (2) of subdivision (a) shall consist of any of the following:
(1) A Federal Trade Commission's Affidavit of Identity Theft.
(2) A written statement that contains the content of the Identity Theft Victim's Fraudulent Account Information
Request offered to the public by the California Office of Privacy Protection.
(3) A written statement that certifies that the representations are true, correct, and contain no material
omissions of fact to the best knowledge and belief of the person submitting the certification. A person
submitting the certification who declares as true any material matter pursuant to this subdivision that he or
she knows to be false is guilty of a misdemeanor. The statement shall contain or be accompanied by the
following, to the extent that an item listed below is relevant to the debtor's a llegation of identity theft with
respect to the debt in question:
(A) A statement that the debtor is a victim of identity theft.
(B) A copy of the debtor's d river's license o r identification card, as issued by the state.
(C) Any other identification document that supports the statement of identity theft.
(D) Specific facts supporting the claim of identity theft, if available.
(E) Any explanation showing that the debtor did not incur the debt.
(F) Any available correspondence disputing the debt after transaction information has been provided to the
debtor.
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(G) Documentation of the residence of the debtor at the time of the alleged debt. This may include copies of
bills and statements, such as utility bills, tax statements, or other statements from businesses sent to the
debtor, showing that the debtor lived at another residence at the time the debt was incurred.
(HJ A telephone number for contacting the debtor concerning any additional information or questions, or
d i rection that further communications to the debtor be in writing only, with the mailing address specified in
the statement.
(I) To the extent the debtor has information concerning who may have incurred the debt, the identification of
any person whom the debtor believes is responsible.
(J) An express statement that the debtor did not authorize the use of the debtor's name or personal
information for incurring the debt.
(K) The certification required pursuant to this paragraph shall b e sufficient if it is in substantially the following
form:
"I certify the representations made are true, correct, and contain no material omissions of fact.


(Date and Place) (Signature)
(c) If a debtor notifies a debt collector orally that he or she is a victim of identity theft, the debt collector shall
notify the debtor, orally or in writing, that the d ebtor's claim must be in writing. If a debtor notifies a debt
collector in writing that he or she is a victim of identity theft, but omits i nformation required pursuant to
s ubdivision (a) or, if applicable, the certification required pursuant to paragraph (3) of subdivision (b), if the
debt collector does not cease collection activities, the debt collector shall provid e written notice to the debtor
of the additional information t hat is required, or the certification required pursuant to paragrap h (3) of
subdivision (b), as applicable, or send the debtor a copy of the Federal Trade Commission's Affidavit of
Identity Theft form.
(d) Upon receipt of the complete statement and information described in subdivision (a), the debt collector
shall review and consider all of the information provided by the debtor and other information available to the
debt collector in its file or from the creditor. The debt collector may recommence debt collection activities
only upon making a good faith determination that the information does not establish that the d ebtor is not
responsible for the specific debt in question. The debt collector's determination shall be made in a manner
consistent with the provisions of subsection (1) of Section 1692 of Title 15 of the United States Code, as
incorporated by Section 1788.17 of this code. The debt collector shall notify the debtor in writing of that
determination and the basis for that determination before proceeding with any further collection activities.
The debt col lector's determination shall be based on all of the i nformation provided by the debtor and other
information available to the debt collector in its file or from the creditor.
(e) No inference or presumption that the debt is valid or invalid, or that the debtor is liable or not liable for
the debt, shall arise if the debt collector decides after the review described in subdivision (d) to cease or
recommence the debt collection activities. The exercise or nonexercise of rights under this sectio n is not a
waiver of any other right or defense of the debtor or debt collector.
(f) The statement and supporting documents that comply with subdivision (a) may also satisfy, to the extent
those documents meet the requirements of, the notice requirement of paragraph (5) of subdivision (c) of
Section 1798.93.
(g) A debt collector who ceases collection activities under this section and does not recommence those
collection activities shall do all of the following:
(1) If the debt collector has furnished adverse information to a consumer credit reporting agency, notify the
agency to delete that information.
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(2) Notify the creditor that debt collection activities have been terminated based upon the debtor's claim of
identity theft.
(h) A debt collector who has possession of documents that the debtor is entitled to request from a creditor
pursuant to Section   530.8 of the Penal Code is authorized to provide those documents to the debtor.
(i) Notwithstanding subdivision (h) of Section 1788.2, for the purposes of this section, "debtor" means a
natural person, firm, association, organization, partnership, business trust, company, corporation, or limited
liability company from which a debt col lector seeks to collect a debt that is due and owing or alleged to be
due and owing from the person or entity. The remedies provided by this title shall apply equally to violations
of this section.


Rosenthal   Fair Debt Collection Practices Act § 1 788.20.
Request or application for credit; inability or lack of intention
to pay obligation; falsity of or conceal ment of i nformation
I n connection with any request o r application for consumer credit, n o person shall:
(a) Request or apply for such credit at a time when such person knows there is no reasonable probability of
such person's being able, or such person then lacks the intention, to pay the obligation created thereby in
accordance with the terms and conditions of the credit extension; o r
(b) Knowingly submit false o r inaccurate information or willfully conceal adverse i nformation bearing upon
such person's credit worthiness, credit standing, or credit capacity.


Rosenthal   Fair Debt Collection Practices Act § 1 788.2 1 .
Notice of change i n name, address or employment;
disclosure by creditor of debtor's responsibility
(a) In connection with any consumer credit existing or requested to be extended to a person, such person
shall within a reasonable time notify the creditor or prospective creditor of any change in such person's name,
address, or employment.
(b) Each responsibility set forth i n subdivision (a) shall apply only if and after the creditor clearly and
conspicuously in writing d iscloses such responsibility to such person.

Rosenthal   Fair Debt Collection Practices Act § 1 788.22.
Cred it extended u nder an account; d uties of debtor
disclosure by cred itor of debtor's responsibility
(a) In connection with any consumer credit extended to a person under an account:
(1) No such person shall attempt to consummate any consumer credit transaction thereunder knowing that
credit privileges under the account have been terminated or suspended.
(2) Each such person shall notify the creditor by telephone, telegraph, letter, or any other reasonable means
that an unauthorized use of the account has occurred or may occur as the result of loss or theft of a credit
card, or other instrument identifying the account, within a reasonable time after such person's discovery
thereof, and shall reasonably assist the creditor in determining the facts and circumstances relating to any
unauthorized use of the account.
(b) Each responsibility set forth in subdivision (a) shall apply only if and after the c reditor clearly and
conspicuously in writing discloses such responsibility to such person.
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Rosenthal     Fair Debt Collection Practices Act § 1 788.30.
Liability of debt collector; individual action; actual and
pun itive damages; costs; cure of violation; venue; defenses
(a) Any debt collector who violates this title with respect to any debtor shall be liable to that debtor only in an
individual action, and his liability therein to that debtor shall be in an amount equal to the sum of any actual
damages sustained by the debtor as a result of the violation.
(b) Any debt collector who willfully and knowingly violates this title with respect to any debtor shall, in
addition to actual damages sustained by the debtor as a result of the violation, also be liable to the debtor
only in an individual action, and his additional liability therein to that debtor shall be for a penalty in such
amount as the court may allow, which shall not be less than one hundred dollars ($100) nor greater than one
thousand dollars   ($1,000).
(c) In the case of any action to enforce any liability under this title, the prevailing party shall be entitled to
costs of the action. Reasonable attorney's fees, which shall be based on time necessarily expended to enforce
the liability, shall be awarded to a prevailing debtor; reasonable attorney's fees may be awarded to a
prevailing creditor upon a finding by the court that the debtor's prosecution or defense of the action was not
in good faith.
(d) A debt collector shall have no civil liability under this title if, within   15 days either after d iscovering a
violation which is able to be cured, o r after the receipt of a written notice of such violation, the debt collector
notifies the debtor of the violation, a n d makes whatever adjustments or corrections are necessary to cure the
violation with respect to the debtor.
(e) A debt collector shall have no civil liability to which such debt collector might otherwise be subject for a
violation of this title, if the debt collector shows by a preponderance of evidence that the violation was not
intentional and resulted notwithstanding the maintenance of procedures reasonably adapted to avoid any
such violation.
(f) Any action under this section may be brought in any appropriate court of competent jurisdiction in an
individual capacity only, within one year from the date of the occurrence of the violation.
(g) Any intentional violation of the p rovisions of this title by the debtor may be raised as a defense by the
debt collector, if such violation is pertinent or relevant to any claim or action brought against the debt
collector by or on behalf of the debtor.
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                    Exhibit TAC-3
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 2
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 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11   JULIO MAYEN,                                     Case No.: 1 7-CV-50 JLS (MDD)
12                                    Plaintiff,
                                                      ORDER:        (1) GRANTING
13   v.                                               DEFENDANT'S MOTION TO
                                                      DISMISS; AND
14   NEW PENN FINANCIAL, LLC dba
                                                      (2) GRANTING IN PART AND
     SHELLPOINT MORTGAGE
15                                                    DENYING IN PART DEFENDANT'S
     SERVICING,
                                                      REQUEST FOR JUDICIAL NOTICE
16                                 Defendants.
17                                                    (ECF Nos. 6, 6-2)
18
19
20         Presently before the Court is Defendant New Penn Financial, LLC's Motion to
21   Dismiss Plaintiff's Complaint or for a More Definite Statement, ("MTD," ECF No. 6-1).
22   Also before the Court are Plaintiff Julio Mayen's Response in Opposition and Objection
23   to, ("Opp'n," ECF No. 7), and Defendant's Reply in Support of, ("Reply," ECF No. 8),
24   Defendant's MTD, as well as Defendants' Request for Judicial Notice in Support ofMotion
25   to Dismiss, ("RJN," ECF No. 9-2). The Court vacated the hearing on the motion and took
26   the matter under submission pursuant to Civil Local Rule 7.l(d)(l). (ECF No. 9.) After
27   considering the parties' arguments and the law, the Court         GRANTS IN PART              and
28   DENIES IN PART Defendant's      RJN and GRANTS Defendant's MTD.


                                                                                   17-CV-50 JLS   (MDD)
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 1                                         BACKGROUND

 2         On December 27, 2004, Plaintiff Julio Mayen purchased the residential property
 3   located at 1 5335 Castle Peak Lane, Jamul, CA 9 1 935 (the "Property") with a $1 ,088,000
 4   loan, secured by a deed of trust on the Property, from Countrywide Home Loans, Inc.
 5   (Comp!. ii 18, ECF No. 1 .) Plaintiff "allegedly defaulted on the loan" on March 1, 2009.
 6   (Id. ii 19.) On December 24, 201 3 , Plaintiff alleges that Resurgent Capital Services L.P.
 7   ("Resurgent") "sent Plaintiff a letter stating they have acquired the servicing rights of
 8   Plaintiffs [sic] defaulted loan." (Id. ii 20.) In response, Plaintiff claims he "sent Resurgent
 9   a debt validation letter disputing the amount and validity of the debt" on January 3 1 , 20 14.
10   (Id. ii 2 1 .) Shortly thereafter, Plaintiff alleges he received "a notice from Resurgent and
11   Shellpoint transferring servicing rights to Shellpoint" on February 14, 2014, (id. ii 22), and
12   in response, Plaintiff claims he "sent Shellpoint a debt validation letter disputing the
13   amount and validity o f the debt" on March 3 1 , 2014, (id. ii 23).
14         Plaintiff further alleges that in response to Plaintiffs letters disputing his debt,
15   "Shellpoint has provided documents as if Plaintiff has requested            a    Qualified Written
16   Request (QWR) instead of account-level documents substantiating the amount and validity
17   of the debt," and that "[t]o this date, Defendant has never validated or verified the alleged
18   debt." (Id. ii 24.) In addition, Plaintiff alleges that "Defendant, for the past 12 months, has
19   sent Plaintiff six demands for payment without providing any account-level documentation
20   substantiating the amount of the debt." (Id. ii 25.) Finally, Plaintiff alleges that
21   "Defendant's correspondence regarding debt amounts due are very inconsistent and
22   confusing." (Id. ii 26.)
23         Plaintiff filed a complaint against Defendant on January 1 1 , 20 17, alleging causes
24   of action under the Fair Debt Collection Practices Act, 1 5 U.S.C. § 1692, et seq.
25   ("FDCPA") and the Rosenthal Fair Debt Collection Practices Act, California Civil Code
26   section 1 788, et seq. ("RFDCPA"). (See generally Comp!.) Plaintiff brings three claims
27   against Defendant based on these allegations: ( 1 ) Defendant's continued collection activity
28   of a disputed debt violates FDCPA Section 1692g(b); (2) Defendant's false representation

                                                    2
                                                                                        17-CV-50 JLS   (MDD)
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 1   of the character and amount of Plaintiffs debt violates FDCPA Section 1692e(2)A; and
 2   (3) Defendant's violations of the FDCPA constitute violations of the RFDCPA. (See
 3   generally id.) Plaintiff seeks statutory and actual damages, attorney's fees, costs, and
 4   injunctive relief. (Id. iii! 29, 3 1 .) On March 1 7, 2017, Defendant moved to dismiss
 5   Plaintiffs Complaint or for a more definite statement. (ECF No. 6.)
 6                                          LEGAL STANDARD

 7            Federal Rule of Civil Procedure 12(b)(6) permits a party to raise by motion the
 8   defense that the complaint "fail[s] to state a claim upon which relief can be granted,"
 9   generally referred to as a motion to dismiss. The Court evaluates whether a complaint states
10   a cognizable legal theory and sufficient facts in light of Federal Rule of Civil Procedure
11   8(a), which requires a "short and plain statement of the claim showing that the pleader is
12   entitled to relief." Although Rule 8 "does not require 'detailed factual allegations,' . . . it
13   [does]     demand     more      than   an   unadorned,   the-defendant-unlawfully-harmed-me
14   accusation." Ashcroft    v.    Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell At!. Corp.              v.


15   Twombly, 550 U.S. 544, 555 (2007)). In other words, "a plaintiffs obligation to provide
16   the 'grounds' of his 'entitle[ment] to relief requires more than labels and conclusions, and
17   a formulaic recitation of the elements of a cause of action will not do." Twombly, 550 U.S.
18   at 555 (citing Papasan    v.   Allain, 478 U.S. 265, 286 (1986)). A complaint will not suffice
19   "if i t tenders 'naked assertion[s] ' devoid of 'further factual enhancement."' Iqbal, 556 U.S.
20   at 677 (citing Twombly, 550 U.S. at 557).
21            In order to survive a motion to dismiss, "a complaint must contain sufficient factual
22   matter, accepted as true, to 'state a claim to relief that is plausible on its face."' Id. (quoting
23   Twombly, 550 U.S. at 570); see also Fed. R. Civ. P. 12(b)(6). A claim is facially plausible
24   when the facts pied "allow the court to draw the reasonable inference that the defendant is
25   liable for the misconduct alleged." Iqbal, 556 U.S. at 677 (citing Twombly, 550 U.S. at
26   556). That is not to say that the claim must be probable, but there must be "more than a
27   sheer possibility that a defendant has acted unlawfully." Id. Facts '"merely consistent with'
28   a defendant's liability" fall short of a plausible entitlement to relief. Id. (quoting Twombly,

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 1   550 U.S. at 557). Further, the Court need not accept as true "legal conclusions" contained
 2   in the complaint. Id. This review requires context-specific analysis involving the Court's
 3   "judicial experience and common sense." Id. at 678 (citation omitted). "[W]here the well-
 4   pleaded facts do not permit the court to infer more than the mere possibility of misconduct,
 5   the complaint has alleged-but it has not 'show[n] '-'that the pleader is entitled to relief."'
 6   Id.
 7         Because this case comes before the Court on a motion to dismiss, the Court must
 8   accept as true all material allegations in the complaint, and must construe the complaint
 9   and all reasonable inferences drawn therefrom in the light most favorable to Plaintiff. See
10   Thompson v. Davis, 295 F.3d 890, 895 (9th Cir. 2002). When a plaintiff appears pro se, the
11   court must be careful to construe the pleadings liberally and to afford the plaintiff any
12   benefit of the doubt. See Erickson v. Pardus, 5 5 1 U.S. 89, 94 (2007); Thompson, 295 F.3d
13   at 895. Where a complaint does not survive 12(b)(6) analysis, the Court will grant leave to
14   amend unless it determines that no modified contention "consistent with the challenged
15   pleading . . . [will] cure the deficiency." DeSoto v. Yellow Freight Sys., Inc. , 957 F.2d 655,
16   658 (9th Cir. 1992) (quoting Schriber Distrib. Co. v. Serv-Well Furniture Co. , 806 F.2d
17   1 393, 1401 (9th Cir. 1986)). Furthermore, "before dismissing a pro se complaint the district
18   court must provide the litigant with notice of the deficiencies in his complaint in order to
19   ensure that the litigant uses the opportunity to amend effectively." Ferdick v. Bonzelet, 963
20   F.2d 1 258, 1261 (9th Cir. 1 992).
21                                           ANALYSIS

22    I.    Request for Judicial Notice

23         Defendant's Motion to Dismiss is accompanied by a Request for Judicial Notice.
24   (See generally RJN.) Although within the context of a motion to dismiss under Federal
25   Rule of Civil Procedure 1 2(b)(6), a Court generally may not consider matters outside of
26 the pleadings, see Fed. R. Civ. P. 12(d), it is nonetheless "appropriate for the Court to take
27 notice of 'relevant facts obtained from the public record . . . . ' " See Papasan, 478 U.S. at
28 298; see also Harris v. Cty. of Orange, 682 F.3d 1 126, 1 1 32-33 (9th Cir. 201 2) (noting

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 1   that a court may "take judicial notice of undisputed matters of public record" and that
 2   "documents not attached to a complaint may be considered if no party questions their
 3   authenticity and the complaint relies on those documents" (citing Lee v. City ofL.A. , 250
 4   F.3d 668, 688, 689 (9th Cir. 2001 ))).
 5         Defendant moves the Court to take j udicial notice of fourteen exhibits in support of
 6   its motion: (1) the Deed of Trust recorded on December 30, 2004 in the Official Records
 7   of the County Recorder's Office of San Diego County, California; (2) the Assignment of
 8   Deed of Trust recorded on June 13, 20 1 1 in the Official Records of the County Recorder's
 9   Office of San Diego County, California; (3) the Notice ofDefault and Election to Sell under
10   Deed of Trust recorded on February 29, 2016 in the Official Records of the County
11   Recorder's Office of San Diego County, California; (4) the Notice of Trustee's Sale
12   recorded on June 27, 20 16 in the Official Records of the County Recorder's Office of San
1 3 Diego County, California; (5) the Electronic Docket from Case No. 1 3-01 660-LT13,
14   United States Bankruptcy Court for the Southern District of California; (6) the Voluntary
15   Petition for Individuals Filings for Bankruptcy filed by Plaintiff on February 2 1 , 20 13 in
16   Case No. 13-0 1660-LT13, United States Bankruptcy Court for the Southern District of
17   California; (7) the Balance of Schedules, Statements, and/or Chapter 1 3 Plan filed by
18   Plaintiff on March 22, 20 13 in Case No. 1 3-01 660-LT13, United States Bankruptcy Court
19   for the Southern District of California; (8) the Electronic Docket from Case No. 16-05 1 04-
20   LT13, United States Bankruptcy Court for the Southern District of California; (9) the
21   Voluntary Petition for Individuals Filings for Bankruptcy filed by Plaintiff on August 22,
22   2016 in Case No. 16-05 104-LT13, United States Bankruptcy Court for the Southern
23 District of California; ( 10) the Balance of Schedules, Statements, and/or Chapter 13 Plan
24   filed by Plaintiff on September 20, 201 6 in Case No. 1 6-05 104-LT1 3, United States
25   Bankruptcy Court for the Southern District of California; ( 1 1) the Electronic Docket from
26   Case No. 16-071 8 1 -LT13, United States Bankruptcy Court for the Southern District of
27   California; (12) the Voluntary Petition for Individuals Filings for Bankruptcy filed by
28   Plaintiff on November 28, 2016 in Case No. 1 6-07 1 8 1 -LT13, United States Bankruptcy

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 1   Court for the Southern District of California; (13) the Balance of Schedules, Statements,
 2   and/or Chapter 13 Plan filed by Plaintiff on January 4 , 20 17 in Case No. 1 6-0 7 1 8 1-L T1 3 ,
 3   United States Bankruptcy Court for the Southern District of California; and (1 4) the Notice
 4   of Entry of Order Dismissing Case and Vacating All Automatic Stays and Injunctions
 5   issued on March 9,201 7 in Case No. 16-0 71 8 1-LT13 ,United States Bankruptcy Court for
 6 the Southern District of California. (See generally RJN .)
 7             Plaintiff opposes all documents filed by Defendant for "trying to make this case
 8   about [Plaintiffs] alleged debt." (Opp'n 6.1 ) Plaintiff further argues that the exhibits filed
 9 by Defendant "are irrelevant in this case for the simple reason that this case is about the
10   conduct of Shellpoint as they attempted to collect an alleged debt"             and that "[t]his is a very
11 straight forward claim for violations of the FDCPA and the Rosenthal Act resulting from
12   Shellpoint's conduct and has nothing to do with any alleged debt." (Id. (emphasis in
13   original).) However, Plaintiff does not question the authenticity of Defendant's Exhibits 1
14   and 32 and the documents are objectively verifiable. See Fed. R . Evid. 201( b) . Given the
15   foregoing, and because Defendant's argument that Plaintiffs failure to allege facts
1 6 supporting claims under the FDCPA and RFDCPA has the potential to dispose of all of
17   Plaintiffs causes of action, the Court find Exhibits 1 and 3 are validly judicially noticed.
18             Accordingly, the Court GRANTS IN PART and DENIES IN PART Defendant's
1 9 RJN .
20   II.       Motion to Dismiss

21             Defendant moves to dismiss Plaintiff's FDCPA and RFDCPA claims on multiple
22   grounds: ( 1) judicial estoppel from Plaintiff's three prior bankruptcies bars Plaintiff from
23   bringing this entire action; (2) Plaintiff fails to allege facts supporting claims under the
24   FDCPA or RFDCPA; and (3) Plaintiff fails to include a necessary and indispensable
25
26   1   Pin citations to docketed material refer to the CM/ECF numbers electronically stamped at the top of each
     page.
27
     2   Because the Court does not need to consider Exhibits 2 or    4-14   to rule on Defendant's MTD, infra
28
     Sections Il.A-B, the Court does not grant judicial notice to Exhibits 2 or   4-14.

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 1   party-co-borrower, Sarah A. Mayen. (See generally Defendant's Memorandum of Points
 2   and Authorities to Its Motion to Dismiss or for a More Definite Statement ("MID"), ECF
 3   No. 6-1 .) Alternatively, Defendant requests that Plaintiffprovide a more definite statement.
 4   (Id. ) However, before the Court can determine whether judicial estoppel bars this entire
 5   action, the Court must first determine whether Plaintiffs allegations support a cause of
 6   action under the FDCPA or RFDCPA. If Plaintiff is unable to allege sufficient facts
 7   supporting the plausibility of his claims that Defendant violated the FDCPA or RFDCPA,
 8   then Plaintiff never had a claim to disclose during Plaintiffs bankruptcy proceedings.
 9         A. Whether Plaintiff Failed to State a Claim/or Violation ofthe FDCPA

10         Defendant argues that it does not qualify as a debt collector under the FDCPA
11   because Plaintiff "has not alleged Shellpoint began servicing his loan after he had already
12   defaulted" and "[a]s the complaint currently stands, it i s altogether unclear what the status
13   of the loan was at the time of service transfer to Shellpoint." (MTD 4-5.) Defendant further
14   argues that Plaintiff s claim "fails because his loan obligation serviced by Shellpoint is not
15   a 'consumer debt' for FDCPA purposes" and even if Plaintiffs mortgage loan did qualify
16   as a consumer debt under the FDCPA, "the complaint does not contain a single specific
17   fact connecting Shellpoint's conduct to any FDCPA prohibition." (Id. at              5.)   In response,
                                                          '

18   Plaintiff argues that Defendant qualifies as a debt collector under the FDCPA because "the
19   alleged default date of the alleged loan was March       1 , 2009   which was at least four and a
20   half years prior to" Plaintiff rece1vmg the February                   1 4,   2014     "notice from
21   Resurgent/Shellpoint transferring servicing rights to Shellpoint." (Opp'n                     1 2 .)   And
22   therefore, Plaintiff argues, Defendant's failure to respond to Plaintiffs March               3 1 , 2014

23   "debt [v]alidation letter disputing the amount and validity of the debt" and Defendant's
24   "six different demands for payment without providing any account-level documentation
25   substantiating the amount of the alleged debt" constitute "continued collection activity of
26   a disputed debt making this lawsuit ripe and proper for this claim." (Id. at         1 3 .)

27         Congress enacted the FDCPA "to eliminate abusive debt collection practices by debt
28   collectors, to insure that those debt collectors who refrain from using abusive debt

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 1   collection practices are not competitively disadvantaged, and to promote consistent State
 2   action to protect consumers against debt collection abuses." 1 5 U.S.C. § 1692(e). The
 3   FDCPA "regulates the conduct of debt collectors, imposing affirmative obligations and
 4   broadly prohibiting abusive practices." Gonzales v. Arrow Financial Servs., LLC, 660 F.3d
 5   1055, 1060-6 1 (9th Cir. 20 1 1 ). To state a claim under the FDCPA, a plaintiff must show:
 6   (1) that he is a consumer; (2) that the debt arises out of a transaction entered into for
 7   personal, family, or household purposes; (3) that the defendant qualifies as a debt collector
 8   under 1 5 U.S.C. § 1692a(6); and (4) that the defendant violated one of the provisions of
 9   the FDCPA. Freeman v. ABC Legal Servs., Inc. , 827 F. Supp. 2d 1065, 107 1 (N.D. Cal.
10   201 1 ). Because Plaintiff's debt originates from his obligation to pay for property he
11   purchased for personal use, only the third and fourth prongs are at issue here.
12                (1)    Whether Defendant Qualifies as a Debt Collector
13         Under the FDCPA, "[t]he term 'debt collector' means any person who . . . [is] in any
14   business the principal purpose of which is the collection of any debts, or who regularly
15   collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be
16   owed or due another." 1 5 U.S.C. § 1 692a(6). Section 1692a(6)(F)(iii) of the FDCPA
17   exempts-among other entities-"a mortgage servicing company, or any assignee of the
18   debt, so long as the debt was not i n default at the time it was assigned." Nao! v. HomeQ
19   Servicing, 653 F . Supp. 2d 1047, 1 053 (E.D. Cal. 2009) (quoting Perry v. Stewart Title
20   Co., 756 F.2d 1 1 97, 1 208 (5th Cir. 1 985)); see also De Dias v. Int '! Realty & Invs. , 64 1
21   F.3d 107 1 , 1075 n.3 (9th Cir. 201 1 ) ("[D]ebt collector does not include those 'mortgage
22   service companies and others who service outstanding debts for others, so long as the debts
23   were not in default when taken for servicing . . . .   ' ") (summarizing and quoting S. Rep.
24   No. 95-382, at 3--4 ( 1 977), reprinted in 1 977 U.S.C.C.C.A.N. 1695, 1698); id.
25   ("[E]xemption in § 1 692a(6)(F)(iii) was intended to apply to mortgage companies and
26   other parties 'whose business is servicing current accounts . . . . ") (summarizing and
                                                                            '



27   quoting Fed. Trade Comm'n, Staff Commentary on the Fair Debt Collection Practices Act
28   § 803, 53 Fed. Reg. 50,097, 50,103 (Dec. 13, 1988) (emphasis in original)). Therefore, to

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 1   determine the threshold issue of whether Defendant, a mortgage servicing company,
 2   qualifies as a debt collector, the Court must first address whether Plaintiffs debt was in
 3   default at the time it was assigned to Defendant.
 4         Because the FDCPA does not define "in default," "courts interpreting Section
 5   1 692a(6)(F)(iii) look to any underlying contracts and applicable law governing the debt at
 6   issue." De Dias, 64 1 F.3d at 1 074; cf id. at 1075 n.3 (noting further that the FDCPA's
 7   "legislative history is consistent with construing 'in default' to mean a debt that is at least
 8   delinquent, and sometimes more than overdue."). Here, the recorded Deed of Trust to
 9   Plaintiffs property that Defendant filed as Exhibit 1 states the following:
10         Borrower shall be in default if any action or proceeding, whether civil or
11         criminal, is begun that, in Lender's judgment, could result in forfeiture of the
           Property or other material impairment of Lender's interest in the Property or
12         rights under this Security Instrument. Borrower can cure such a default and,
13          if acceleration has occurred, reinstate as provided in Section 1 9, by causing
           the action or proceeding to be dismissed with a ruling that, in Lender's
14         judgment, precludes forfeiture ofthe Property or other material impairment of
15         Lender's interest in the Property or rights under this Security Instrument. The
           proceeds of any award or claim for damages that are attributable to the
16          impairment of Lender's interest in the Property are hereby assigned and shall
17         be paid to Lender.
18   (MTD Ex. 1 , ECF No. 6-3, at 1 1 .) However, the recorded Notice of Default and Election
19   to Sell Under Deed of Trust filed by Defendant as Exhibit 3 identifies Plaintiffs debt as
20   delinquent and overdue since March 1 , 2009. (MTD Ex. 3, ECF No. 6-3, at 73 ("A breach
21   of, and default in, the obligations for which such Deed of Trust is security has occurred in
22   that payment has not been made of the following: The monthly installment which became
23   due on 3/1/2009, along with late charges, and all subsequent monthly installments.").)
24         Defendant's arguments that Plaintiff never alleged the loan was in default are
25   unavailing. Plaintiff alleges in the Complaint that he "allegedly defaulted on the loan" on
26   March 1 , 2009, and that on February 1 4, 2014, he "received a notice from Resurgent and
27   Shellpoint transferring servicing rights to Shellpoint." (Comp!. 'l!'lf 1 8, 22.) Plaintiff further
28   alleges that "Shellpoint acquired the servicing rights of Plaintiffs consumer debt over four

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 1   and a half years after default . . . . " (Id. 'If 16; see also id. 'If 3 (noting that Plaintiff's claim
 2   is brought "as a result of Defendant's conduct in the collection of an alleged consumer debt
 3   in default for over four and a half years prior to being assigned to Defendant for
 4   collection").) In response to Plaintiffs allegations, Defendant neither disputes that the
 5   mortgage loan was in default, nor cites to any evidence to support that argument in its MTD
 6   or Reply. The Court must accept as true all material allegations in the complaint, and must
 7   construe the complaint and all reasonable inferences drawn therefrom in the light most
 8   favorable to Plaintiff. Given that payments on the loan were overdue and delinquent for
 9   over four and a half years, the Court finds that Plaintiff sufficiently alleges facts plausibly
10   showing that the debt was in default at the time it was assigned to Defendant. Accordingly,
11   the Court concludes that Defendant qualifies as a debt collector under the FDCPA.
12                 (2)     Whether Defendant's Conduct Violated 15 U S. C. § 1692g
13          Section 1692g governs the validation of debts and requires that "within five days
14   after the initial communication with a consumer in connection with the collection of any
15   debt, a debt collector shall, unless the following information is contained in the initial
16   communication or the consumer has paid the debt, send the consumer a written notice."
17   § 1692g(a). The initial communication or notice must contain the following information:
18          (1) the amount of the debt; (2) the name of the creditor to whom the debt is
19          owed; (3) a statement that unless the consumer, within thirty days after receipt
            of the notice, disputes the validity of the debt, or any portion thereof, the debt
20          will be assumed to be valid by the debt collector; (4) a statement that if the
21          consumer notifies the debt collector in writing within the thirty-day period
            that the debt, or any portion thereof, is disputed, the debt collector will obtain
22          verification of the debt or a copy of a judgement against the consumer and a
23          copy of such verification or judgment will be mailed to the consumer by the
            debt collector; and (5) a statement that, upon the consumer's written request
24          within the thirty-day period, the debt collector will provide the consumer with
25          the name and address of the original creditor, if different from the current
            creditor.
26
27 Id. To satisfy the requirements of § 1692g(a), "the notice Congress required must be
28   conveyed effectively to the debtor. It must be large enough to be easily read and sufficiently

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 1   prominent to be noticed . . . [and it] must not be overshadowed or contradicted by other
 2   messages or notices appearing in the initial communication from the collection agency."
 3   Terran v. Kaplan, 109 F.3d 1 428, 1 432 (9th Cir. 1997) (quoting Swanson v. S. Or. Credit
 4   Service, Inc., 869 F.2d 1222, 1225 (9th Cir. 1988)). In this circuit, courts assess the
 5   sufficiency of a notice "under the 'least sophisticated debtor' standard." Swanson, 869 F.2d
 6   at 1225. The purpose of the standard is " 'to protect consumers of below average
 7   sophistication or intelligence,' or those who are 'uninformed or naive,' particularly when
 8   those individuals are targeted by debt collectors." Gonzales, 660 F.3d at 1062 (quoting
 9   Dujjj; v. Landberg, 2 1 5 F.3d 871 , 874-75 (8th Cir. 2000)). However, the standard also
10   " 'preserv[es] a quotient of reasonableness and presum[es] a basic level of understanding
11   and willingness to read with care.' " Id. (quoting Rosenau v. Unifund Corp. , 539 F.3d 2 1 8,
12   221 (3d Cir. 2008)).
13         Section 1692g(b) identifies the following course o f action for a consumer to dispute
14   a debt and the appropriate response from the debt collector:
15         If the consumer notifies the debt collector in writing within the thirty-day
16         period described in subsection (a) that the debt, or any portion thereof, is
           disputed, or that the consumer requests the name and address of the original
17         creditor, the debt collector shall cease collection of the debt, or any disputed
18         portion thereof, until the debt collector obtains verification of the debt or a
           copy of a judgment, or the name and address of the original creditor, and a
19         copy of such verification or judgment, or name and address of the original
20         creditor, is mailed to the consumer by the debt collector.

21   Section 1 692g was added to the FDCPA "specifically to ensure that debt collectors gave
22   consumers adequate information concerning their legal rights." Swanson, 869 F.2d at 1225 .
23   Thus identification of the sender of the notice is central to whether a notice is deficient
24   because § 1692g(a) requires the entity seeking collection of any debt to send an initial
25   communication or notice with the requisite information identified above. Moreover, any
26   determination on the sufficiency of a defendant's notice of debt requires reviewing the
27   information contained in the notice and the manner in which it is presented. However, § §
28   1692g(a) and 1692g(b) also require that a consumer wishing to dispute a debt must do so

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 1   within thirty days of receipt of notice of debt, and a "tardy request for verification of the
 2   debt [does] not trigger any obligation on the part of the [debt collector] to verify the debt."
 3   Mahon v. Credit Bureau, Inc., 1 7 1 F.3d 1 197, 1202 (9th Cir. 1 999).
 4          Plaintiff alleges that on February 14, 20 14, he "received a notice from Resurgent and
 5   Shellpoint transferring servicing rights to Shellpoint." (Comp!. if 22.) Because the notice
 6   was not an exhibit to the Complaint, the Court is unable to ascertain from Plaintiff's
 7   allegations which debt collector, Resurgent or Shellpoint, sent the notice. Furthermore, the
 8   Court cannot ascertain from Plaintiff's allegations what information the notice contained,
 9   aside from identifying the transfer of servicing rights from Resurgent to Shellpoint.
10   Consequently, the Court must find that Plaintiff's allegations do not plausibly state a claim
11   that Defendant's notice was deficient under § 1692g(a).
12          To be sure, allegations that Defendant violated § 1 692g(a) are not necessary for
13   Plaintiff's claim that Defendant separately violated § 1692g(b). However, Plaintiff alleges
14   that he sent Defendant "a debt validation letter disputing the amount and validity o f the
15   debt" on March 3 1 , 2014, (id. if 23), i.e., forty-five days after the notice sent from
16   Resurgent/Shellpoint. Based on Plaintiff's own allegations, his debt validation letter was
17   untimely and Defendant was under no obligation to verify the debt. Therefore the Court
18   must find that Plaintiff fails to state a facially plausible claim that Defendant violated
19   § 1692g(b) of the FDCPA. Accordingly, the Court GRANTS this portion of Defendant's
20   MTD.
21                (3)    Whether Defendant 's Conduct Violated 15 U S. C. § 1 692e(2)A
22          Plaintiff claims that Defendant violated § 1692e(2)A for the following reasons: (a)
23   "Defendant has never substantiated the principle amount of this alleged debt as true and
24   accurate;" (b) "Defendant's correspondence regarding debt amounts due are [sic] very
25   inconsistent and confusing;" and (c) "Defendant has falsely represented the character and
26   amount of this debt." (Comp!. if 26.) In response, Defendant argues that "the complaint
27   does not contain a single specific fact connecting Shellpoint's conduct to any FDCPA
28   prohibition." (MTD 5.)

                                                   12
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 1         Under § 1692e, "[a] debt collector may not use any false, deceptive, or misleading
 2   representation or means in connection with the collection of any debt." Section 1692e(2)A
 3   specifically identifies "[t]he false representation of-the character, amount, or legal status
 4   of any debt" as conduct that violates § 1692e. In this circuit, "liability under § 1 692e of the
 5   FDCPA is an issue of law." Gonzales, 660 F.3d at 106 1 . Determining whether conduct
 6   violates § 1692e "requires an objective analysis that takes into account whether the 'least
 7   sophisticated debtor would likely be misled by a communication.' " Donohue v. Quick
 8   Collect, Inc., 592 F.3d 1027, 1030 (9th Cir. 201 0) (quoting Guerrero v. RJMAcquisitions
 9   LLC, 499 F .3d 926, 934 (9th Cir. 2007) (internal quotation marks omitted)). Furthermore,
10   the FDCPA "does not ordinarily require proof of intentional violation, and is a strict
11   liability statute." Gonzales, 660 F.3d 1055 (citing McCollough v. Johnson, Rodenburg &
12   Lauinger, LLC, 667 F.3d 939, 948 (9th Cir. 201 1 )).
13         Ultimately, Plaintiffs claim that Defendant violated § 1 692e(2)A rests on
14   Defendant's alleged failure to substantiate the amount of Plaintiffs debt. However, as the
15   Mahon court instructed, a "tardy request for verification of the debt [does] not trigger any
16   obligation on the part of the [debt collector] to verify the debt." 1 7 1 F.3d at 1202 ("If no
17   written demand is made, 'the collector may assume the debt to be valid.' ") (quoting Avila
18   v. Rubin, 84 F.3d 222, 226 (7th Cir. 1996)). Again, based on Plaintiffs own allegations
19   and absent any allegations that Defendant's notice was deficient, Plaintiffs debt validation
20   letter was untimely and Defendant was under no obligation to verify the debt. Therefore,
21   the Court must find the debt amount to be valid, and that Plaintiff fails to state a facially
22   plausible claim that Defendant violated § 1692e(2)A of the FDCPA. Accordingly, the
23   Court GRANTS this portion of Defendant's MTD.
24         B. Whether Plaintiff Failed to State a Claim for Violation of the Rosenthal Act

25         Plaintiff alleges that Defendant's violations of the FDCPA also constitute violations
26   of the RFDCPA under California Civil Code section 1788 . 1 7. (Comp!. 11 25-26.) As
27   California's version of the FDCPA, the RFDCPA "mimics or incorporates by reference the
28   FDCPA's requirements . . . and makes available the FDCPA's remedies for violations."

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                                                                                   17-CV-50 JLS   (MDD)
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.934 Page 57 of 95
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 1   Riggs v. Prober & Raphael, 68 1 F.3d 1097, 1 100 (9th Cir. 2012) (citing Cal. Civ. Code
 2   § 1788. 17). Therefore, whether a debt collector's conduct "violates the [RFDCPA] turns
 3   on whether it violates the FDCPA." Id. Because Plaintiffs RFDCPA claims are based on
 4   the same allegations as his FDCPA claims, the analysis above, supra Section Il.A.3, applies
 5   here and Plaintiffs RFDCPA claims must also fail. Accordingly, the Court GRANTS this
 6   portion of Defendants' MTD.
 7         C. Whether Judicial Estoppel Bars Plaintiff's Claims

 8         Defendant argues that Plaintiffs claims are judicially estopped for failure to disclose
 9   them in his three prior bankruptcies. (MTD 3.) In response, Plaintiff argues that "[t]he
10   alleged bankruptcies have been withdrawn by plaintiff and as a result have no bearing on
11   the claims of the defendants making their claims moot as a result." (Opp'n 7.) Plaintiff
12   further argues that he has always maintained the same position in each of his three
13   bankruptcy cases, i.e., "that the alleged debt is and has been disputed" and that Defendant
14   has "never validat[ed] or verif[ied] the alleged debt." (Id. at 7-8.) However, because the
15   Court above determined that Plaintiff's causes of action should be dismissed, the Court
16   does not reach this argument.
17         D. Whether Plaintiff Failed to Include a Necessary and Indispensable Party

18         Finally, Defendant argues that Plaintiffs failure to join Sarah A. Mayen, a co-
19   borrower o n the mortgage loan, as an indispensable party under Fed. R. Civ. P. 1 9(a) is a
20   sufficient basis for dismissal. (MTD 7; Reply 4.) Again, because the Court above
21   determined that Plaintiff's causes of action should be dismissed, the Court does not reach
22   this argument.
23                                        CONCLUSION

24         For the reasons stated above, the Court     GRANTS IN PART          and   DENIES IN

25   PART   Defendant's RJN, (ECF No. 6-1), and GRANTS Defendant's MTD on all causes
26   of action, (ECF No. 6). Nonetheless, the Court will not yet dismiss Plaintiffs claims with
27   prejudice. E.g. , Polich v. Burlington N Inc. , 942 F.2d 1467, 1472 (9th Cir. 1991)
28   ("Dismissal without leave to amend is improper unless it is clear, upon de nova review,

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                                                                                 17-CV-50 JLS   (MDD)
 Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.935 Page 58 of 95
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 1   that the complaint could not be saved by any amendment." (citing Kelson               v.   City of
 2   Springfield, 767 F.2d 65 1 , 653 (9th Cir. 1 985))). Accordingly, the Court      DISMISSES

 3   WITHOUT PREJUDICE             Plaintiffs Complaint and   GRANTS     Plaintiff leave to file an
 4   amended Complaint, if any, on or before fourteen days from the date on which this Order
 5   is electronically docketed.
 6         IT IS SO ORDERED.

 7   Dated: August 16, 2017
 8                                                  on. Janis L. Sammartino
                                                   United States District Judge
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                  Exhibit TAC-4.1
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                RESURGEITT                                                                                                                                        M ONTH LY STATE M E N T I
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                                                                                                                                                                     STATEMENT IJA1E 1 211 912013
              For Customer Service I nqui ries or pay-by-phone,                ,
              please contact ua al 866°318-4706.                                                                                                                PAYMENT DUE DATE 31112009
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              Fax: 866-467M1137 • E·Ma11: loanservlclng@resurgent.com
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                Principal Balance as of 1211912013:                                         Welcome to Resurgent Mortgage Servicing, a division of Resurgent Capital Services LP. /ls                                                .
                           $1, 1 78,080.66                                                  mentioned In prior correspondence your loan recently transferred to Resurgent for servicing.
                                                                                            We look forward to a m utually benenclal relationship Please contact our office at           .
                         Interest Paid Year to Date:                                        866-316-4706 so we can discuss your account, answer any questions you might have, and set
                                    $0.00                                                   up payment arrangements if necessary.
                   Late Charges Paid Year to Date:                                          This Is an attempt to collect a debt. Any Information obtained will be used for that purpose. This
                                            $0.00                                           is a communication from a debt collecror. 1 1 this debt has been discharged In a bankruptcy
                                                                                            without a valid reaffirmation, Resurgent Is not attempting to collect the debt from you as !o your
                                  Escrow Balance:
                                                                                            personal llablllty. Please dlemgard any contrary provisions contained In this letter. We are
                                      $·86, 143.31                                          solely seeking to protecl our rights In the collateral associated with your discharged obligation.

                                                                                            For budget advice and credil counseling assistance please call the Resurgent                                                 National Credit
                                                                                            Counsallng Agency locator line at (800) 340-237 1 .

                                                                                             Please contact our.office Jf you do not wish to receive monthly statements.

                                                                                            Amounts paid In excsss of your payment amount wlil first be used to satisfy any delinquency. If
                                                                                            there are no paat due amounts then excess fundB paid will be posted to your pnnclpal balance                                                     .
                                                                                            As required �Y law, �ou ere hereby notified that a negative credit report reflecting on your credit
                                                                                            record may be submitted to a credit reporting agency If you fall to fu lfill the terms of your credit
                                                                                            obligations.
                PLEASE SEE REVERSE SIDE FOR
                  IMPORTANT INFORMATION
.. - - - - - - - - - - - - - - - - - - - - __   - - ANO RETURN WITHYOUR PA'r'MENT.
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          !L. _i_,. ¥,
                  •.                        RETURN SERVICE REQUESTED
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                             SARAH MAYEN
                             1 5335 CASTLE PEAK LN                                                                                                                  RESURGENT MORTGAGE SERVICING
                             JAMUL CA 91935-2238                                                                                                                    P.O. BOX 19006
                                                                                                                                                                    GREENVILLE, SC 29602-9006


   In the near future Resurgent will be able to send you your monthly bill and other important
   communicatfons by eMmail M� get otganized and go green!

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 Electronic notifications wlll be senl to the email address you have provided as your email address. If your email address changes, you are
 responsible for informing us of that change. Changes to your email will apply to all of your notifications.

 You understand and agree that your notifications may be delayed or prevented by a variety of factors. We do our best to provide alerts In
 a timely manner with accurate Information. We neither guarantee the delivery nor the accuracy of the contents of any alert. You also agree
 that we shall not be liable for any delays, fallul!I to deliver, or misdirected delivery of any alert; for any errors In the content of an alert; or
 tor any actions taken or not taken by you or any third party In reliance of an alert.

 Because notifications are not encrypted, we will never Include your passoode or full account number. However, notifications may Include
 your name and some Information about your acoounts. Depending upon which notifications are sent. Information such as the last four
 digits of your loan number, your payment amount or the due date for your payment may be included. Anyone with access to your email
 will be able to view the contents of these alerts.
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                  Exhibit TAC-4.2
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  Case 3;} 7-cv-00050-JLS-MDD                                        Document 15                                                                                           Page 16 of 89
    P.O. BLJ}( 1410
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       RETURN SERVICE REQUESTED


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      S-SFRECS20 L-10-M A-0515393708 R·1                                                                                Fax: 866-467- 1 137
      P37D7LOOW1141 - 280539588 !03422                                                                                  e-Mail: loanservicing@resurgent.com
      JULIO MAYEN
      SARAH MAYEN
      15335 CASTLE PEAK LN
      JAMLIL CA 91935-2238


                                                                                                                        Loan Number: 0515393708

 December 24, 2013

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 RE: 1 5335 Castle Peak Lane, Jamul, CA 9 1 935                                                                                - --
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 Dear Valued Customer:
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 We are plt!ased to advise you that effective 12/1912013 Bank ofAmerica, N.A. has placed your account wilh Resurgent Mortgage Servicing, a division
                                                                                                                                                                                        ·

 ofResurgent Capital Setvices L.P. ("Resurgent") for servicing. To ensure a smooth transfer, please review the following information.

 On and after 1 2119/2013, your loan payments should be made payable to Resurgent. Your previous servicer will cease to accept any payments it
 receives after 12/19/2013 and will forward them to Resurgent. Ifyou have any questlons ofyour previous servicer, you may call their Customer Service
 Department.

 Please feel free to call Resurgent if you have any questions concerning your loan or need addHional information. You may contact Resurgent at
 800-365-7107. Our Customer Service hours are from 8:00am to 6:0Dpm Eastern Time.

 AB of the date of this letter, the principal balance is $1,1 18,080.66. Should you desire to pay off the account in full, you should contact us at
 800-365-7 107 to determine the puyotf balance              as   intCiest, pa)'lllents, credits, fees and/or other permissible charges can continue to cause your account
 balance to vary from day to day.

 Payments should be malled to:                                                         Correspondence should be mailed to:
 Resurgent Mortgage Servicing                                                          Resurgent Mortgage SerVicing
 P.O. Box 19006                                                                        P.O. Box 10826
 Greenville, SC 29602-9006                                                             Greenville, SC 29603-0826

 The assignment, sale, or transfer of the servicing of your loan does not affect any term of the loan instruments other than terms directly related to the
 servicing of your loan.

 You..sbnuld..also he m.vare of the fnll.m.ving information._whicbJs. set.forth.in. more detail .in..Sed:ion.6.. cf thc..B,eal Estate Settlement Pl'.D.Cilllw.es. .Ad.._
 (RESPA)(l 2 U.S.C.260S):

 During the 60 day period following the effective date of the transfer of the loan servicing, a loan payrnent received by your previous servicer before its
 due date may not be treated by Resurgent as late, and a late fee maynot be imposed on you.

 Section 6 of RESPA ( 1 2 U.S.C.2605) gives you certain rights. If you send a quaJified written requeat to your loan seivicer ccnceming the servicing of
 your loan, your servicer must provide you with written acknowledgement within 5 business da.ys of receipt ofyour request. A qualified written request
 is a written correspondence, other than notice on a payment coupon or other payment medium supplied by the servicer, which includes your name and
 account number, and your reasons fur the request.

 Ifyou want to send a qualified written request regarding the servicing ofyour loan, it must be sent t9 P.O. Box 208 Greenville, SC 29602-0208.

 No later than 60 business days after receiving your request, your aervicer must m11.ke any appropriate adjustments to your account and must provide you
 wilh written clarification regarding any dispute. During this 60 business day period1 your servicer may not provide information to a consumer ra1ing
 agency concerning any overdue payment related to such period or qualified written request. However, this does not prevent the servicer from initiating
 foreclosure if proper grounds exist under the mortgage docu1nenls.

 A l;lusiness day is a day on which the offices of the business entity are open to the public for conducting suhAtantiatly all of its business functions.

 Resurgent will not continue to collect, deduct for, or remit any amounts that your previous servicer was collecting for optional eredit health, or life
 insurance. If you desire to maintain these coverages you will need to contact your local insurance a.gent to establish there types of optional insurance
 services.




                  SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
                                                                                                                                                                                  D2411001Cl2S0400




                                                                                                                                                                           Exhibit A-2
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.941 Page 64 of 95
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 long, pleasant association.

 We mny report information about your acc:ount lo the   credit bureaus. Lale payments, missCd payments or other defaults on yonr account may be
 reflected in your credit report.

 Si usted no entiende el contenido de esta earta, por favor contacte a uno de nuestros representantes que hablan espaflol al nilmero 800-365·7 I 07.

 Sincerely,


 Resurgent Mortgage Servicing
 800-365-7 107

                                       Plea1e read the following important nodee!l as they may affect your rights.

 Unless you notify us within 30 days after receiving this no1ice that you dispute the validity of this debt, or any portion of it, we will assume this debt is
                                                                                                                                                      obtaltl
 valid. If you notify us in writing within 30 days after receiving this notice that you dispute the val idity of this debt, or any portion of it, we will
   r                                            u
 ve ification of 1he debt or obtain a copy of a j dginent and mail you a copy cf such jlldgtnent or verification. Ifyou request of us in writing, within 30
 days after receiving this notice. we will provide you with the name and {lddress of    lheoriginal creditor, if different from the current creditor.

 This is an attempt to collect a debt and any information obtained will be used for that purpose. This. communication is from a debt collector.

                                                    u
If this debt was discharged in a bankruptcy witho t a valid reaffirmation1 please understand that Resurgent is not attempting to collect the debt from
 you personally, but is rather seeking to protect the credi tor's right in the associated collateral. Please disregard any contrary provisions containetl in
                                                                    '
 this l�tter and interpret this communication accordingly.

                                                                                                                                                       b
 California R,esicl@nts: As requ ired by law, you are hereby notified that a negative credit bureau reporL reflecting on your credit record may be su mitted
           t
 to a credi reporting agency ifyou fail to fulflll your credit obligation.

 The state Rosenthal Fait Debt C6UecUon Practices Act and the federal :Fair Debt Collection Practices Act requlrc lhet, e�cept under unusual
                            s
 circumstances, collector may not contact you before 8 a.m. or a fter 9 p.m. They may not harass you by using threats of violence or arrest or by using
 obscene language. Co1lectors may 11ot use false or misleading statements or call you at work ifthey know or have reason to know that you may not
 receive personal calls at work, For the most part, collectonJ may not tell another person, other than your attorney or spouse, about your debt. Collectors
 may oontact another person to confirm your location or enforce a judgment . For more infonnadon about debt collection activities, you may contaet the
 Federa1 Trade Commission at 1 -877-FTC-HELP or www.ftc.gov.

 The following is a Spanish translation oflhe information previously provided:

                                   Lea por favor las siguientes avhos lmportantes que puedan afedar sus derechos.

 A menos que usted no11 notifique dcntro de los 30 dtas despots de recibir este aviso quc usted cne!itiona la validez de esta deuda, o cualquier poreiOn
 de la misma, asumiremos que esta deuda es vilida. Si usted nos notifica por escrito dentro de los 30 dias despues de recibir este aviso quo cuestiona la
 validez de esta deuda, o cualquier porci6n de la misma, obtendremos la verificaciOn de la deuda u obten dremos la copia de la sentcncia y le
 enviaremos la copia de dicha sentencia o vetiflcaciOn. Si nos lo pide por escrito. dentro de los 30 dlas despues de recibir este aviso, le faci\itaremos el
 nombre y la direcciOn del acreedor original. si no coincide con el acreedor actual.

 El objeto de la presente notificaciOn es gestionor el cobro de la   deuda, y todn infonnacllm obtenida ser4 utili28.da a tal fin. La presente eomunicaci6n
 proyicne de un agellte de cobro de dcudas.

 Si esla deuda no fue liberada en una quiebra sin una reafirmaci6n vAJida, entienda que Resurgenr no busca eobrar la deuda de usted perscnalmente,
 sino que busca proteger los derechos del acreedor en la garantia asociada. Haga caso omiso de las disposiciones contradictories que se encuentran en
 esta cmta e interprete esta comunicaci6n en consecuencia.

 "Como es requerldo por la ley usted este. slendo notlflcado por este medio que un reporte de credito negativo afectando su reporte de credlto puede ser
 remitido a una agencia de reporte de cr6d itos., si usted no pucde satisfocer los t6nninos de su obligaci6n."

 "El acto estatal de Rosenthal Fair Debt Collection Practices, y el acto federal de Fair Debt Collection Practices requieren que, a menos de
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 ci cunstandas inusuales, l os cobradores no podr<in contactarlo antes de las 8 a.m. o despues de l s 9 p.m. Ellos    no
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                        o                           .
 violentas o arres.tarlo usar un Jengt1aje ofensivo Los oobradores no podran usar declaraciones falsas o engaftosas o llamarlo a su trabajo si ellos saben
       e
 o tien n raz6n para saber quc usted no puede recibir llamadas personal.es en su trabajo, En general, cobradores no le podrftn decir a otra persona,
 aparte de su abogadoo su espose, acerca de su deuda. Los cobradores se podriin comunicar con otras personas para poder comunkarse con usted. y
 para entllb1e.r un juicio. Para mUs informaci6n sobrc las acrividades·de colecci6n de deuda. wted puede contactar Federal Trade Commission al
 t-877·FTC-HBLP o www ftc.iroy"'
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                                                      PRIVACY NOTICE

 This Privacy Notice is being provided on behalf of each of the following related companies (collectively, the "Sherman
 Companies"). It describes the general policy of the Sherman Companies regarding the personal information of
 customers and former customers.


  Resurgent Capital Services L.P.                LVNV Funding, LLC              Ashley Funding Services LLC
  Sherman Acquisition L.L.C.                    PYOD LLC·                       SFG REO, LLC
  Resurgent Capital Services PR LLC             Anson Street LLC




 Information We May Collect. The Sherman Companies may collect the following personal information:               (1) Information
 that we receive from your account file at the time we purchase or begin to service your account, such as your name,
 address, social security number, and assets; (2) information that you may give us through discussion with you, or that we
 may obtain through your transactions with us, such as your income and payment history; (3) information that we receive
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 from other third party information providers. such as public records and databases that contain publicly available data
 about you, such as bankruptcy and mortgage filings. All of the personal information that we collect is referred to in this
 notice as "collected Information".



 Confldentlallty and Security of Collected Information. At the Sherman Com panies, we restrict access to collected
 information about you to individuals who need to know such collected information In order to perform certain services in
 connection with your account. We maintain physical safeguards (like restricted access), electronic safeguards (like
 encryption and password protection), and procedural safeguards (such as authentication procedures) to protect collected
 Information about you.



 Sharing Collected Information with Aflll lates From time to time, the Sherman Companies may share collected
 information about customers and former customers with each other in connection with administering and collecting
 accounts to the extent permitted under the Fair Debt Collection Practices Act or applicable state law.



 Sharlna Collected Information with Third Parties The Sherman Companies do not share collected information about
 customers or former customers with third parties, except as permitted in connection with administering and collecting
 accounts under the Fair Debt Collections Practices Act and applicable state law.




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                    Exhibit TAC-5
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                                                                                                      January ~1. 2014
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     Jamot, QA· 9:1935

     REIUR.Qlfr MORTGAGE SERVICING·
     (A'Pii/1$t'Qtfdif:?esurgent. Capita/Services; L. P.)
     P;O. Box:1082S'       ·.
     G•nv\Rt1 $t 29603·-os2e
     Uiltl~ Mail N.o. 7012 3050 000,1 8908 ·4411

     ~f --;AL'.t~EDACCT: 0$1$$93708


                                      THIS IS A.REQUE:ST FOR VALIDATION
     Dear'Sir or Madam,

     On or about January· 7, 2014 I received from Resurgent Mortgage Servicing '("Resurgent'), the following
     two documents.

              1) Monthly Statement dated 12-19."Wta stating that           {"Resurgent"~     is attempting to .collect a
                  debt. ·                                                  ·       ·     ·
              2) Letter:of transfer dated 12•24-2013 stating that {"Resurgenf') i:s .attempting to ·collect a debt.

     TtrisJeUer is to affirm1;1.tlvely notice y.QU that ! dispute the alleged debt in its entirety and your claim is being
     disputed. I have no contract 1 agreement or trust with ("Resurgent'). Please note that this ls NOT a
     Qualified Written Request but rather a request for validation pursuant' t0 the Fair Debt Collection
      Pratti¢e1 Act             ·                      ·
         Please be advised that I am not requesting "verification• that you have my malling address..
         ram requesting a "validation" that lsi competent .evidence that Ihavi;i: some rontractual obligatlon
         to pay you or your alleged .client
         Further I am requesting "verification et· agency~ wherein your firm, practlce; or cellection agency is
         il1 the direct employ of the aHeg(fd creditor. Veriflc~Hon of qire:ct agency<req~i·re$' su.bstanUation by
         the PrJncipal, oat the agent.
         You should also be aware that.sending unsubstantiated demands for payment through the United
         :States Mail System might.constitute mail fraud under federal and state law.
         YOtJr- fa.ilute fo satisfy this req1,1e$t within the requJr~mehts of the F~ir Debt Co.llection P~etlC'eJ
         Act wrfl be construed as your absolute waiver of any and all claims against me, and your tacit
         agreement to compensate me for costs anti ,attorney's fees should any arise.




                                                                                                                 Exhibit B
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.945 Page 68 of 95
  Case 3 : 17-cv-00050-J LS-MDD                            Document 15            Filed     09/20/17   Pagel D.341       Page 22 of 89

                                                                                                                    Januaiy-31, �014:
                                                                                                                         �age 2of.3'



      The     �llQWjp311� $Sl�lkHl<lfrilimt.llWI wo.uld like to express, have at;ldresse'd anll <Jnswered regarding
      the @tent 1fi!lli•!�--i:i.lill!' dll�Lt�especially sinee I have neve� heard pf ("Resurgent") and I have no.
      contM!el; �-�i\! � trust wi.th ("Resurgent"),

            3i�f.· }.· •
            "
                           I di.l 1't(!f j1Qc,Jl\lze the account# as eny .I heve ever had
                           l.:lf�.(Jiit�ize
                                      l     the amountin the 'TotiJI P$yment(s) Due" .bo.x                .
                           .Plltlllllfli\l°QVi!le a complete accounting and Itemized breakdown ofwhat constitutesthis lotal Due
            4) Tf'!(lrt.Sl'l) nGJraactkm Descriptions in the appropriate �ox: please explain In detail
            5)   The�·!l!� i\&!llil..  l etion dates; ple�se explain irt detan
            6) Th�11!Jn.Q·tr11na�Qtlon art1o(lnts; Plea$e explaiil In de1all
            7) Wtntt.l$'.ll\• 111$C\'!ll/,ililalance? Please explain in detail
                       �). �ow 'wail,ftt:alculated? Please give fuff accounting aM explaih in detail
                      ·:lij·. WHat.mtitiy doa$ it consist of? Please give fUll acco.unu�g and explain ln deta11
            8) In the "Important Messages" box on the monthly sta1ement it refers to:
                       ;,i) "prior correspondence": to what is. itr!iferrir1g? No pritlr oorrespondenCI! was received.
                       bl "...yoor loan recently lransfertecl fo Resurgent for S.ervJclnq.";
                             I.  Dsfine "transferred" and "servicing" specifically
                                        .     .



            9) I do not have an account with ("Resurgent") and 1 .havl! never had a relationship wlth ("Reiiurgen!")
                 or Bank.olAmerica N.A.
             10) Are you s.tating that .Bank o!Art1etica NA If! th$ alleged �ummtcreditot?
            ·11) Please identify with proof who the alleged original creditor and who me alleged current creditor is. If
                 dJfferent from the origfnar and provide their contact Information as required. by the FDCPA.

      Nonei of th� do.oumants are signed by an individu al taking liability for them which make them higtily­
      suspiclous as: fraudulentsince anyone oould nave prod�ced them in this d igital day and age then put them
      in the. mail. I do notlrust this scenario and there Is nothing here thatobllgates me to. perform. So unless
      you can show me a �alid contract, agreement(lr trust 9$ pioof ltiat f �ave to )'le'rform. I donl have to oeal
      with you. At this time lrnquest that yo�r offi«es provide me with oompetent evldenGe that l have any legal
      obligatioTT to pay you. Pleas11 provide me with the fol)owio.g:

            1} Whatthe money you say· / owe Is for;
            Z) E�pl ain and show me how yo.u calculated what yo� $ay· I owe;
            3) Provide me with copies of any and.all papers·thal$how I agre.ed to pay what you sa.y I 11we;
            4) Provide. a .ve(ificatiort or copy of anyjudgment if;ippliC$blii:
            5) lctentl.fY the original creditor; .                .
            8) Identify the o.urrent cred/!Qr if: different than the original creditor;
            7) Prove. the Statute of Limitations has not expired on thl$ l\c.Cbunt
            S} Show me that you �re license.� t() coll.ect in J\JY &lat�
            9) Provide mewith your license numbers �d Regkitered Agent
      At ihis time I will also lnfofm yol! th�t If yout offices have �P.orl�d inval1d$ted lnformaUon . to ·any of the 3
      m$jor Credit Bureau's (Equifax, Sxperian or Transl!nion) .ibis �Gtlon might. consUJute viol�tiims unoerbolh
      Federal and State Laws. Doe to this fact, If �nyne9atlve marklsfOOhd oh. any· of my credit reports by your
      company or the cornf)any that you rep[esent I will Mt hesitate In brtnglng legal action against you for !he
      fOllowing:

            •              ViolatiM of the �airCredit R�potfing Act
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.946 Page 69 of 95
  Case 3 : 17-cv-00050-JLS-MDD                         Document 15              Filed 09/20/17   Pagel D . 342      Page 23 of 89

                                                                                                               Janvazy$1,W\4
                                                                                                                    �·��a•rn



              ·.1 ..     Vl�llln :Of!ilt1f$1r'l:aebt Collection Prac11c�s Act
          .   ·�.      · r.till'11!Mllmt llf Glhlll'l!Pter


       tlJ?)Ut!l��i<l�ti)« � �mvide the proper doC\lmenta!ton as requested in tha following De.claratiorr, l will
      ra11Uirlt i.11 'l�lit 3ll ay11 kl Investigate !his information and during such time afl colle.ation activity must
      eaawe and deS!Jl;

       Ai�:�f18!tll�v11•11 petiad, if any aoti.on is. taken which could be considered detrimental to any of my
      :tli1t�tir�p�1 .I wlll *lll�$WIWilh my I/Igel cotmsel !pr sult ihts 1ncl�des any listing any in1nrma!ion to 1<
      'Ote�ft.ifi!l����fll\1!\lly !!lit could be inaccurate or Invalidated or �e.rilying an account as accurate when.
      in tfiet;fhera\gl'tl!lj'.lmi!lded.proofthal It is.

      ii� •ciftlll\1$ �alft"          �QO� lo this Valldation .request Within 30 days from .the. date of ytJur receipt, all
      re.,$111i1{!(!11bli!:lliiillilltlt111ust be deleted and ctimpletety removed from my areal! file artd a copy of such
      �11t•11 r!f®�ll!hllff oo �!Itto me immediately,
       l!'i1!1lild·:lfll� •J!i!lf to:•$111t�t;Jn •writing, th$t no telephone cimtaet be made by y.our offices to my home or to
       �.Ii p�t.llf;&�p1�l!!ll. !fy(lur of!Jces attempttelephone communicalion Witn me, including �uj notJimited
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      ��� lil1JUlll�riflllld.lwill have no choice but fo fil.e suit. All futUl'll cnmmunlcatiens with me. MUSJ
      b$: �1111� th'W!- �n'l!ll'Mi!lt\. the address noted in lhi!'l let(er by· USPS.

      !l!!St
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.947 Page 70 of 95




                    Exhibit TAC-6
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.948 Page 71 of 95
 Case 3 : 17-cv-00050-JLS-MDD                                        Document 15
     P.O. BOX 1410
     TROY, Ml 48099·1410
     RETURN SERVICE REQUESTED




                                                                                                                                       Loan Number
                                                                                                                                         0515393708
     ·•n•·il 11111111'1• 11111 11° 1. •1' ·"·I•I• •111 1°11 °1111 hi llP11• •1
     S-SFRECSZIJ L-CST-SMS Ml515393708 R-6                                                                                         Prooertv Address
     P3COAC00708230-297357310116480                                                                                         15335 Castle Peak Lane
     JULIO MAYEN                                                                                                                   Jamul, CA 91935
     SARAH MAYEN
     15335 CASTLE PEAK LN                                                                                             Owner ofyour Loan
     JAMUL CA 91935-2238                                                                              BANK OF NEW YORK AS TRUSTEE FOR
                                                                                                                        CWMBS 2085-117



 2114/2014


                                                                   Notice or Transfer of Servicing
                                                    ---�· · ··--                   ·



 Dear Valued Customer:

 Etleclive March I, 2014, Resurgent Mortgage Servicing will become part of Shellpoint Mortgage Servicing*, a division of Now
 Penn Finaocial, LLC. This means the servicing of your mortgaae loan io being transrened to Shellpoint Mortgage Servicing. This
 change does not affi>ct any term or condition of the mortgage instruments, other than the tenns directly related to the servicing of
 your loan.


 This change does not Impact your mortgage. There will be little or no impact to you as a result of this transfer. Tho phone number
 and mailing addresses you use to contact Resurgent will he the same with Shotlpoint. Your loan number will remain lbe same as
 will tho address you use fur payments or correspondence. However, She!lpoint will collect your payment• going furward. Shellpoint
 will start accepting payments received ftom you on 3/1/2014.                    If you have any questions about your mortgage loan or thi• transf'er,
 our contact infurmation is listed below.
           •      Customer Care Department Phone: (800) 365-7 !07
           •      Fox: (866) 467- 1 1 37
            •     Email: loansorvlcing@shellpointmtg.com
           •      Website: www.shollpointmtg.com
           •      Hours ofQporalion: Monday - Friday / Ham - lOpm EST
                                                  Saturday I Sam - 3pm EST

            SEND WRITTEN JNOUIRIES TO                                             SEND PAYMENTS TO
           Shellpoint Mortgage Servicing                                          Shellpoint Mortgage Servicing
           P,O Box 10826                  ---··-·----��         ..--. --·-�--,--- p o Rm 19006           ----
           Greenville, SC 29603-0826                                              Greenvillo, SC 29602-9006

 Under Federal law, during the 60-day period fullowing the effective date of the transfer of the loan servicing, a payment received by
 your old servicer on or before its due date may not be treated by fue new servicer as late, and a late fee may not be imposed upon you.


 Key points to remember
    •   Your loan number is OS I 5393708, our records indicate that as of 2/14/2014 this loan has an wipaid principal balanoo of
        $1,178,080.66, and is due for tho 311/2009 installment
    •   If you use online hill pay, please he sure to update your bill pay service with Shellpoint's name and mailing address
    •   Ifyou are on ACHDraft (autopay) that information will transfer to Shellpoint
     •     This servicing transf'er only affects this loan, it does not affect your other loans yon may have with Resurgent


 Si ustod no entiende el contenido de esta carta, por favor contacte a uno do nuestros representantes que hablan espaflol al mimero
 (800) 365-7107.

 Best Regards.

 Reaurgent Mortgage Seniclng and Shellpol11t Mongage Servicing


                 SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
                                                                              PI000100 A-051ts39370B 355260101Jo.100

                                                                                                                                    Exhibit C
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.949 Page 72 of 95
  Case 3 :17-cv-00050-JLS-MDD                       Document 15            Filed 09/20/17           Pagel D.345          Page 26 of 89
                                                                                                     Notice of Servicing Transfer · Page 2




                              Please read the following important notices as they may affect your rights.

 Unless you notify us within 30 days after receiving this notice that you dispute the validity of this debt, or any p ortion ofit. we will
 assume this debt is valid. If you notify us in writing within 30 days after reeeiving this notire that you dispute ihe validity ofthis
 debt, or anx portion ofit1 we will obtain verification ofthe debt or obtain a copyofa judgmentand mait you a copy ofsuchjudament
 or verification. If you request of us in writing . within 30 days after receiving this not1te, we will provide you with the name and
 address of the original creditor, ifdifferent from the cu:rrent creditor,

 This is an attempt to collect a debt and any information obtained will be used for that purpose. Th is communication is from a debt
 collector.

 Iftbls debt was discharged in a bankruptcy without a valid reaffirmation, please understand that Resurgent is not attempting to
 collect the debt from you personall�, bUI is rather seeking to protect the creditor 's right in tho associated collateral. Please disregard
 any contrary provisions contained in this letter and interpret 1his communication accordingly.

 California Residents! As required h.Y law, you are hereby notified that a negative.credit bureau report reOecting on your credit record
 may be submitted to a credit reportmg agency if you fii il to fulfill your crodit obligation.

 The state Rosenthal Fair Debt Collection Practices Act and the tbderal Fair Debi COilection Practices Act require that, except under
 unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may not harass you by using threats of
 violenco or arrest or by using obscene language. Colloolors may not use fb.lse or misleading slatem·ients or call you at work if they
 koow or have reason to know that you may n ot receive personal calls at work. For the must part1 collectors may not tell another
 person, other than your attorn� or spouse, about your Uebt. Collectors may contact another person to confirm your location or
 enforce a judgment. For more information abot1t debt collection activities.i you may contact the Federal Trade Comm ission at
 1-877-FTC-HELP or www.ftc.gov.

 The following is a   Spanish translation of tho information previously provided:

                           Lea por ravor las siguientes avlsos lmportantes que puedan arectar sus derechos.

 A menos que usted nos no1ifique dentro de las 30 dias dmipues de recibir este a\liso que usted cuestiona la validez de esta deuda, o
 cualquier porci6n de la misma, asumiremos que esta dcv.da es valida. Si usled nos noHfica por escrito dentro de los 30 dfas desput!is
 de recibir este aviso que cuestiona la validez ae esta deu.da, o cualquier porci6n de la misma1 obtendremos la verificaci6n de la deuda
 u obtendremos la copia de la sentencia y le enviaretnos la copia de dicha sentencia o verificaci6n. Si nos lo pide por escrito, dentro
 de Joo 30 dias despues de recibir este aviso, le fiicilitarenoos el nombre y lo direccion de! acreedor original, si no coincide con el
 acreedor ac;:lual.

 El objeto de la present• notificaci6n es gestionar el cobro de la deuda, y toda informacic\n obtenida sera utilizada a tal fin. La
 presente comunicaci6n proviene de un agente de cobro de deudas.

 Si esla deuda no :fue liberada en una quiebra sin una reafirtnaci6n vftlida, entienda que Resurgent no busca cobrar la deuda de usted
 personalmente, sino que busca proteger los derechos del acreedor en la garantfa asociada. Haga caso omiso de las disposiciones
 contradictorias que se encuentran en esta carta e interprcte esta comunicaci6n en consecuencia.

 "Como es requerido por la ley usted esta siendo notificado �or este medio que un reporte de credito negativo afectando su reporte de
 cri!dito puede ser remitido a una agencia de reporte de cred1tos, si usted no puede satisfacer los terminos do su obligacion."

 "El acto eslatal de Rosenthal Fair Debt Collection Practices, y el acto federal de Fair Debt Collection Practices requieren que, a
 menos de circunstancias inusuales, los cobradores no podriin contacbtrlo antes de las 8 a.m. o despu� de las 9 p.m . Elles no lo
 podn\n aoosar usando amenazas v1olentas o arrestarlo o usar un lenguaje ofensivo. Los cobradores no podn\n usar declaraciones
 falsas o engaftosas o llamarlo a su trabajo si ellos saben o tienen razOn para saber que usted no puede recibir llamadas personales en
 su trahajo. En general, cobradores no le podrc\n decir a otra persona, a{Jarte de su abogado o su esposa, acerca cte su deuda. Los
 cobradores se podran �omunicar con otras personas para poder comun1carse con usted, y para entablar un juicio. Para mils
 infonnaci6n .�obre l as actividades de colecci6n de deuda, usted puede contactar Federal Trade Commission al 1-877-FTC-HELP o
 www.ftc.gov
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.950 Page 73 of 95




                    Exhibit TAC-7
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.951 Page 74 of 95
 Case 3:17-cv-00050-JLS-M D D               Document 15          Filed 09/20/17        PagelD .348        Page 29 of 89




                                                                                                      March 31, 2014
    Julio Mayen
    15335 Castle Peak Lane
    Jamul, CA 91935



    RESURGENT MORTGAGE SERVICING I SHELLPOINT MORTGAGE SERVICING
    (A Division ofNew Penn Financial, LLC.)
    P.O. Box 10826
    Greenville, SC 29603-0826

    USPS Certified Mail No. 7011     1 570 0000 1465 0785

    RE:       ALLEGED ACCT: 0515393708



                                  THIS IS A 2!!!! REQUEST FOR VALIDATION

    Dear Sir or Madam,

    On or about March 4, 2014 1 received a Notice of Transfer of Servicing dated February 14, 2014 stating that
    the servicing of the above mentioned un-validated alleged account would be getting transferred to
    Shellpoint Mortgage Servicing, a division of New Penn Financial, LLC. This notice also states that
    ("Resurgent") and I or ("Shellpoint") are attempting to collect a debt. On January 31, 2014 I responded to
    the following documents sent by Resurgent Mortgage Servicing by submitting a debt validation request
    letter disputing this alleged account.

              1)   Monthly Statement dated 1 2-19-2013 stating that ("Resurgent") Is attempting lo collect a
                   debt.
              2)   Letter of transfer dated 12-24-2013 stating that ("Resurgent") Is attempting to collect a debt.

    To date I have not received a response to my request for validation. Instead I received the Notice of
    Transfer of Servicing mentioned above to which I am responding in the same manner, disputing the
    account specifically and completely.

    This letter is to affirmatively notice you that I dispute the alleged debt in its entirety and your claim is bei ng
    disputed. I have no contract, agreement or trust with ("Resurgent") or ("Shellpoint"). Please note that this
    is NOT a Qualified Written Request but rather a request for validation pursuant to the Fair Debt Collection
    Practices Act.

          Please be advised that I am not requesting "verification" that you have my mailing address.

          I am requesting a "validation" that is, competent evidence that I have some contractual obligation
          to pay you ("Resurgenf' or "Shellpoint") or your alleged client.



                                                                                                        Exhibit    D
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.952 Page 75 of 95
 Case 3:17-cv-00050-JLS-MDD                        Document 15   Filed   09/20/17      PagelD.349        Page 30 of 89


    Resurgent/ Shellpoint Request for Validation                                                          March 31, 2014
    (Continued}                                                                                              Page 2of3



          Further I am requesting "verification of agency" wherein your firm, practice, or collection agency is
          in the direct employ of the alleged creditor. Verification of direct agency requires substantiation by
          the Principal, not the agent.

          You should also be aware that sending unsubstantiated demands for payment through the United
          States Mail System might constitute mail fraud under federal and state law.
          Your failure to satisfy this request within the requirements of the Fair Debt Collection Practices
          Act will be construed as your absolute waiver of any and all claims against me, and your tacit
          agreement to compensate me for costs and attorney's fees should any arise.

    The following are specific concerns that I would like to express, have addressed and answered regarding
    the content of the foregoing documents especially since I have never heard of ("Resurgenf') or
    ("Shellpoint") and I have no contract, agreement or trust with ("Resurgent") or ("Shellpoinf').

          1) I do not recognize the account # and is not one I have ever had
          2) I do not recognize the amount listed as one I have ever had
                     a) How was it calculated? Please give full accounting and explain in detail
                     b) What exactly does it consist of? Please give full accounting and explain in detail
          3)    Please  provide a complete accounting and Itemized breakdown of what constitutes this Total Due
          4) There are no transaction descriptions; please explain in detail
          5) There are no transaction dates; please explain in detail
          6) There are no itemized transaction amounts; Please explain in detail
                     a) How was it calculated? Please give full accounting and explain in detail
                     b) What exactly does it consist of? Please give full accounting and explain in detail
          7) Define "transferred" and "servicing" specifically and in detail
          8) I do not have an account with ("Resurgent') or ("Shellpoinf') and I have never had a relationship
                with ("Resurgent") or ("Shellpoint") or Bank of America N.A.
          9) Are you stating that Bank of America N.A. is the alleged current creditor?
          10) Is ("Resurgent") or ("Shell point") affiliated with Bank of America, N.A. in any way?
          1 1 ) Please identify with proof who the alleged original creditor and who the alleged current creditor is if
                different from the original and provide their contact information as required by the FDCPA.

    None of the documents are signed by an individual taking liability for them which make them highly
    suspicious as fraudulent since anyone could have produced them in this digital day and age then put them
    in the mail. I do not trust this scenario and there is nothing here that obligates me to perform. So unless
    you can show me a valid contract, agreement or trust as proof that I have to perform, I don't have to deal
    with you. At this time I request that your offices provide me with competent evidence that I have any legal
    obligation to pay you. Please provide me with the following:

          1) What the money you say I owe is for;
          2) Explain and show me how you calculated what you say I owe;
          3) Provide me with copies of any and all papers that show I agreed to pay what you say I owe;
          4) Provide a verification or copy of any judgment if applicable;
          5) Identify the original creditor;
          6) Identify the current creditor if different than the original creditor;
          7) Prove the Statute of Limitations has not expired on this account
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.953 Page 76 of 95
 Case 3 : 17-cv-00050-JLS-MDD                       Document 15    Filed 09/20/17    Pagel D . 350     Page 31 of 89


     Resurgent/ Sheltpoint Request for Validation                                                       M9!ch 31, 2014
     (Continued)                                                                                           Page 3 of 3



          8) Show me that you are licensed to collect in my state, California
          9) Provide me with your license numbers and Registered Agent

     At this time I will also inform you that if your offices have reported·invalidated information to any of the 3
     major Credit Bureau's {Equifax, Experian or TransUnlon) this action might constitute violations under both
      Federal and State Laws. Due to this fact, if any negative mark is found on any of my credit reports by your
     company or the company that you represent I will not hesitate in bringing legal action against you for the
     following:

          •      Violation of the Fair Credit Reporting Act
          •      Violation of the Fair Debt Collection Practices Act
          •      Defamation of Character

     If your offices are able to provide the proper documentation as requested in the following Declaration, I will
     require at least 30 days to investigate this information and during such time all collection activity must
     cease and desist.

     Also during this validation period, if any action is taken which could be considered detrimental to any of my
     credit reports, I will consult with my legal counsel for suit. This includes any negative listing of any
     information to a credit reporting repository that could be Inaccurate or invalidated or verifying an account as
     accurate when in fact there is no provided proof that it is.

     If your offices fail to respond to this validation request within 30 days from the date of your receipt, all
     references to this account must be deleted and completely removed from my credit file and a copy of such
     deletion request shall be sent to me immediately.

    I would also like to request, in writing, that no telephone contact be made by your offices to my home or to
    my place of employment. If your offices attempt telephone communication with me, including but not limited
    to computer generated calls and calls or correspondence sent to or with any third parties, ii will be
    considered harassment and I will have no choice but to file suit. All future communications with me MUST
    be done in writing and sent to the address noted in this letter by USPS.

     Best Regards,



    Julio Mayen
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                  Exhibit TAC-8.1
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.955 Page 78 of 95
 Case 3:17-cv-00050-J LS-MDD                 Document 15          Filed 09/20/17         PagelD.352            Page 33 of 89




       SS Beattie Place, Suite 1 1 0                                                  Toll Free Phone 1-866-3164706
       Greenville, SC 2.9601                                                          Toll Pree Fox 1·866-467-1137


                                                                             Hours ojOperatto11
                                                                             Monday-Fridll!' S:OOAM-!O:OOPM
                                                                             Saturda;y 8:00AM-3:00PM



       May 23,2014

       Julio Mayen
       Sarah Mayen
       15335 Castle Peak.Lane
       Jamul, CA 91935



        RE:        Current Owner: Banlc ofNew York as Trustee for CWMBS 2005-07
                   Loan Number: xxxx2584
                   Reference Number: 0515393708

       Dear Mr. & Mrs. Mayen:

       This letter is in response to your correspondence dated January 3 1 , 2014, and March 3 1 ,
       20 1 4, regarding the above referenced loan. The Ban1c ofNew York as Trustee for
       CWMBS 2005-07 ("BONY'') is the owner of the loan ending in 2584. Resurgent Capital
       Services, L.P., ("Resurgent") was the servicer of the BONY loan beginning December
       19, 2013. Effective March 1 , 2014, Shellpoint Mortgage Servicing ("Shellpoint")
        acquired substantially all ofResurgent's mortgage servicing assets. As of the date of this
        communication, the balance owed is $ 1 ,436,550.39, which includes interest, fees, and
        debits. Because interest, payments , credits, fees, and/or other permissible charges can
        continue to cause the loan balance to vary from day to day, you should contact us at 866·
        316-4706 to determine the exact balance. Please review the following loan infurmation:

              I . The current owner ofthis loan is BONY and their address is:
                                         101 Barclay St. 4W
                                           New York, NY 10286
                                           888-999-0615

              2.   This loan originated with Countrywide Home Loans, Inc. on December 27, 2004, for an
                   Adjustable Rate Mortgage.
              3.   The original loan was for $1,088,000.00, at an initial interest rate of 1.000% and an initial
                 monthly payment of$3,499.44.
              4. The interest rate and monthly payment amount you pay may change in accordance with
                 Sections 2 & 3 of the Note.
              5. Payments are to be made on the first day of each month, beginning February 1 , 2005,
                 plus any remaining amount due on the maturity date of January I, 2035.




                                                                                                              Exhibit E
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.956 Page 79 of 95
 Case 3 : 17-cv-00050-JLS-M D D           Document 15          Filed 09/20/17         Pagel D.353        Page 3 4 of 89




             6. No payments have beeo received on this loan since Resurgent began servicing it in
                December of2013.
             7. The loan is past due and has been since March 1, 2009.



         Enclosed are copies ofthe Assignment, Uniform Residential Loan Application, Adjustable Rate
         Note, Deed ofTrust, Truth in Lending Disclosure Statement, Good Faith Estimate, Notices of
         Servicing Transfer, and the complete loan transaction history from the·date of the loan, to the date
         ofthis letter.

         lfwe do not receive additional information from you within 30 days of the date this letter is
         received, then we will assume this dispute is resolved. If you have any further questions,
         conunents or concerns, please contact Customer Service at 866-316-4706.



         Sincerely,

         A.Maia
         Shellpoint Mortgage Servicing



         This communication is sent to you by Shellpoint Mortgage Servicing, a professional debt collector.



                   Please read the following important notices as they may affect your rights.


         This is an attempt to collect a debt and any information obtained will be used for that purpose.
         This communication is from a debt collector.

         If this debt has been discharged in a bankruptcy without a valid reaffirmation, please understand
         that Shellpoint is not attempting to collect the debt from you personally, but is rather seeking to
         protect the creditor's rights in the associated collateral. Please disregard any contrary provisions
         contained in this letter and intetpret this communication accordingly.

         The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection
         Practices Act require that, except under unusual circumstances, collectors may not contact you
         before 8 a.m. or after 9 p.m. They may not harass you by using threats of violence or arrest or by
         using obscene language. Collectors may not use false or misleading statements or call you at
         work if they know or have reason to know that you may not receive personal calls at work. For
         the most part, collectors may not tell another person, other than your attorney or spouse, about
         your debt. Collectors may contact another person to confirm your locatioo or enforce a judgment.
         For more information about debt collection activities, you may contact the Federal Trade
         Commission at 1-877·FTC·HELP or www.fie.gov.

         The following is a Spanish translation of the information previously provided:

               Lea por favor las slguientes avlsos lmportantes que puedan afectsr sus derechos.

         EI objeto de la presente notificacion es gestionar el cobro de la deuda, y toda informaci6n
         obtenida sera utilizada a tal fin. La presente comunicacion provieno de un agente de cobro de
         deudas.
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.957 Page 80 of 95
 Case 3 : 17-cv-00050-JLS-MDD           Document 15          Filed 09/20/17        PagelD.354        Page 35 of 89




        Si esta deuda no fue liberada en una quiebra sin una reafinnaci6n valida, entienda que Shellpoint
        no busca cobrar la deuda de usted personalmente, sino que busca proteger los derechos del
        acreedor en la garantfa asociada, Haga caso omiso de las disposiciones contradictorias que se
        encuentran en esta carta e intexprete esta comunicaci6n en consecuencia.

        El acto estatal de Rosenthal Fair Debt Collection Practices, y el acto federal de Fair Debt
        Collection Practices requieren que, a menos de circunstancias inusuales, los cobradores no
        podrin contactarlo antes de las 8 a.m. o despues de las 9 p.m. Ellos no lo podran acosar usando
        amenazas violentas o arrestarlo o usar un lenguaje ofensivo. Los ccbradores no podran usar
        declaraciones falsas o engaliosas o llamarlo a su trabajo si ellos saben o tienen raz6n para saber
        qne usted no puede recibir llamadas personales en su trabajo. En general, cobradores no le podn\n
        decir a otra persona, apart• de su abogado o su esposa, acerca de su deuda. Los cobradores se
        podran comunicar con otras personas para poder comunicarse con usted, y para entablar unjuicio.
        Para mas informaci6n sobre las actividades de coleccion de deuda, usted puede ccntactar Federal
        Trade Commission al l ·877-FTC-HELP o www.fie.gov.
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.958 Page 81 of 95




                  Exhibit TAC-8.2
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.959 Page 82 of 95

                                                                                                        Hours ofOperation (ES1)
 75 Beattie Place, Suite 300
 Greenville, SC 29601
                                                � ��=!����:�
                                               Phone Number: (866) 825-2066
                                                                                                   Monday - Friday: 8 a m. 10 p.m.
                                                                                                                        .   -


                                                                                                          Saturday: 8 am.-3 p.m.
                                                     Fax: (866) 467-1187
                                           e-Mai1: loanservicingr@shellpointmtg.com


 August 12, 2016

                                                                                                Cert ified Artr cle Num ber
 Julio Mayen
 Sarah Mayen
 15335 Castle Peak Lane
 Jamul, CA 91935                                                                                   SEN DER S REC ORD

 Re:      Case #:              54471 2
          Reference #:         0515393708
          Account #:           xxxx2 584
          Property:            15335 Castle Peak Lane
                               Jamul, CA 91935


 Dear Mr. Mayen:

 We received your inquiry regarding the above referenced mortgage loan, and we have provided the requested information
 below.

 The Bank ofNew York Mellon FKA The Bank of New York as trustee for CW:MBS 2005-07 is currently the owner of the
 account number ending in 2584. Shellpoint Mortgage Servicing ("SheHpoint'') began servicing the loan on the behalfofthe
 owner referenced above on or about March I, 2014. As ofthe date ofthis response, the unpaid principal balance is
 $1,178,080.66. Note that interest, payments, credits, and other allowable charges may cause the loan's balance to vary daily;
 therefore, you should contact Shellpoint at (866) 316-4706 ID determine the exact balance.

 Shellpoint recently addressed the issues and concerns listed in your complaint via the Consumer Financial Protection Bureau.
 Please refer to our enclosed Jetter dated July 28, 2016 and its enclosures.

 Should you have further questions, you may contact Shellpoint's Escalations Department at (888) 536-9761 Monday through
 Friday between the hours of 8:00 a.m. to 5 :00 p.m. (EST). You may also reach us via email at escalations@shellpointrntg.com.

 Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan espafiol al
 nomero (800) 365-7107.

 Sincerely.


 Escalation Department
 Shellpoint Mortgage Servicing

 Enclosure:        Letter dated July 28, 2016


                          Please read the following important notices as they may affect your rights.


 This is an attempt to collect a debt and any information obtained will be used for that purpose. This communication is from a
 debt collector.

 If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that
 this notice is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a
 notice of personal liability to any recipient hereof, who might have received a discharge of such debt in accordance with
 applicable bankruptcy laws or who might be subject to the automatic stay of Section 362 of the United States Bankruptcy Code.
 However, it may be a notice of possible enforcement of the lien against the collateral property, which has not been discharged
 in your bankruptcy.
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.960 Page 83 of 95
  As required by law, you are hereby notified that a negative credit bureau report reflecting on your credit record may be
  submitted to a credit reporting agency ifyou fail to fulfill your credit obligation.

  The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Coll.ection Practices Act require that. except
  under unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may not harass you by using
  threats of violence or arrest or by using obscene language. Collectors may not use false or misleading statements or call you at
  work if they know or have reason to know that you may not rec�ive personal calls at work. For the most part, collectors may
  not tell another person, other than your attorney or spouse, about your debt. Collectors may contact another person to confirm
  your location or enforce a judgment. For more information about debt collection activities, you may contact the Federal Trade
  Commission at 1-877-FTC-HELP or www.ftc.gov.

  Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide
  important protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during
  and twelve months after the servicemember's military or other service. Counseling for covered servicemembers is available
  from Military OneSource and the United States Armed Forces Legal Assistance or other similar agencies.


  The following is a Spanish translation of the infonnation previously provided:


                       Lea por favor las siguientes avisos importantes que puedan afectar sus derechos.


  El objeto de la presente notificaci6n es gestionar el cobro de la deuda, y toda infonnaci6n obtenida serli utilizada a tal fin. La
  presente comunicaci6n proviene de un agente de cobro de deudas.


  Si usted es un cliente en situaci6n de bancarrota o un cliente que ha recibido una e1iminaci6n de esta deuda por bancarrota:
  tenga en cuenta que esta notificaci6n tiene como fin infonnarle sobre el estado de su prCstarno hipotecario. Este aviso no
 constituye una exigencia de pago ni un aviso de responsabilidad civil contra ningno de los destinatarios de la presente
 notificaci6n, que pudiese haber recibido un descargo de este tipo de deuda de confonnidad con la Iegislaci6n vigente sobre
 bancarrota o que pudiera ser objeto de suspensi6n automatica en virtud del Articulo 362 del C6digo de Bancarrota de los
 Estados Unidos. No obstante, puede ser una notificaci6n de una posible aplicaci6n de gravamen sabre la propiedad como
 garantfa, que alln no ha sido descargada en su proceso de bancarrota.


  Como es requerido por la ley usted esta siendo notificado por este medio que un reporte de crCdito negativo afectando su
  reporte de crCdito puede ser remitido a una agencia de reporte de crCditos, si usted no puede satisfacer los tCrrninos de su
  obligaci6n.

  El acto estatal de Rosenthal Fair Debt Collection Practices, y el acto federal de Fair Debt Collection Practices requieren que. a
  menos de circunstancias inusuales� los cobradores no podr8n contactarlo antes de las 8 a.m. o despu6s de las 9 p.m. Elias no lo
  podlin acosar usando amenazas violentas o arrestarlo o usar un lenguaje ofensivo. Los cobradores no poctran usar declaraciones
  falsas o engafiosas o llamarlo a su trabajo si ellos saben o tienen raz6n para saber que usted no puede recibir llamadas
  personales en su trabajo. En general, cobradores no le podr8n decir a otra persona, aparte de su abogado o su esposa, acerca de
  su deuda. Los cobradores se podran camunicar con otras personas para poder comunicarse con usted, y para entablar un juicio.
  Para mas informaci6n sobre las activ.idades de colecci6n de deuda, usted puede contactar Federal Trade Commission al 1-877-
  FTC-HELP o www.ftc.goy.

  AtenciOn uniformados y dependientes: la Ley federal de Ayuda Civil para Uniformados y algunas !eyes estatales brindan
  importantes protecciones para usted, que incluyen protecciones para las tasas de inter6s y la prohibici6n de las ejecuciones
  hipotecarias en la mayoria de las circunstancias durante y doce meses despuCs del servicio militar u otro tipo de servicio. Hay
  consejerla para Jos unifonnados disponible de Military OneSource y de United States Armed Forces Legal Assistance
  (Asistenciajuridica para las Fuerzas Armadas de los Estados Unidos) u otros organismos similares.
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.961 Page 84 of 95




                  Exhibit TAC-8.3
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.962 Page 85 of 95
      P.O. BOX 1410
    TROY, Ml 48099-1410
                                                                                      She.llpoint
                                                                                              . ----· .
                                                                                                                  Mon - Thurs: s:ooAM-10:oorM
                                                                                                                          Fri: 8:00AM-IO:OOPM
    RETURN SERVICE REQUESTED                                                                                  ,           Sat: 8:00AM-3:00PM
                                                                                     Mortgage Servtcmg
                                                                                                          ,


                                                                                                                                           ...   ,   .

                                                                                          Phone Number: 866-3 1 6-4706                    Iii
                                                                                                Fax: 866-467- 1 1 37
                                                                                              www.shellpointmtg.com
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    S-SFRECS20 L-150 R-1 1 7
    P6B9YU00200064 - 503206235 !00128
    JULIO MAYEN
    SARAH MAYEN
    1 5335 CASTLE PEAK LN
    JAMUL CA 91935-2238




11/17/201 6




RE:      Loan Number: 0515393708
         Borrowers: Julio Mayen and Sarah Mayen


Dear Julio Mayen and Sarah Mayen:

This letter is in response to your recent inquiry regarding the above�referenced account serviced by Shellpoint Mortgage Servicing
on behalfof BANK OF NEW YORK AS TRUSTEE FOR CWMBS 2005-07, the owner of your loan. Their contact information is:

         Address: 101 Barclay St., 8W New York NY 10286

We are working to gather the requested information and will forward it to you as soon as possible.

If you have any additional questions or concerns, please contact our Customer Service department at 866-316-4706.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan espaiiol al nllmero
866-31 6-4706.

Customer Service
Shellpoint Mortgage Servicing




              SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.




                                                                                              P689YU00200064 !000128 A-0515393708 0007301G1T0400
  Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.963 Page 86 of 95
                           Please read the following important notices as they may affect your rights.

This is an attempt to collect a debt and any information obtained will be used for that purpose. This communication is from a debt
collector.

Ifyou are a customer in bankruptcy or a customer who has received a bankruptcy discharge ofthis debt: please be advised that this
notice is to advise you of the status ofyour mortgage loan. This notice constitutes neither a demand for payment nor a notice of
personal liability to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy
laws or who might be subject to the automatic stay of Section 362 of the United States Ban�ptcy Code. However, it maybe a notice
ofpossible enforcement ofthe lien against the collateral property, which has not been discharged in your bankruptcy.

California
As required by law, you are hereby notified that a negative credit bureau report reflecting on your credit record may be submitted to a
credit reporting agency if you fail to fulfill your credit obligation.

The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Col1ection Practices Act require that, except under
unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may not harass you by using threats of
violence or arrest or by using obscene language. Collectors may not use false or misleading statements or call you at work if they
know or have reason to know that you may not receive personal cal1s at work. For the most part, collectors may not tell another
person, other than your attorney or spouse, about your debt. Collectors may contact another person to confirm your location or
enforce a judgment. For more information about debt collection activities, you may contact the Federal Trade Commission at
1-877-FTC-HELP or www.ftc.gov.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide
important protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during and
twelve months after the servicemember's military or other service. Counseling for covered Servicemembers is available from
Military OneSource (800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more
information, please visit the Military OneSource website www.militaryonesource.mi1/.

The following is a Spanish translation of the information previously provided:

                        Lea por favor las siguientes avisos lmportantes que puedan afectar sus derechos.

Esto es un intento de cobrar una deuda y cualquier infurmaci6n obtenida se utilizani. para ello. Esta comunicaci6n es de un cobrador
de deudas.

Si usted es un cliente en situaci6n de bancarrota o un cliente que ha recibido una descarga de bancarrota de la deuda: tenga en cuenta
que este aviso es para informarle de la situaci6n de su pr6stamo hipotecario. Este aviso n o constituye una exigencia de pago ni un
aviso de responsabilidad civil contra ninguno de los destinatarios de la presente notificaci6n, que pudiese haber recibido un descargo
de este tipo de deuda de conformidad con la legislaci6n vigente sobre bancarrota o que pudiera ser objeto de suspensi6n automatica
en virtud de Secci6n 362 del C6digo de Bancarrota de los Estados Unidos. No obstante, puede ser una notificaci6n de una posible
aplicaci6n de gravamen sobre la propiedad corno garantia, que aUn no ha sido descargada en su proceso de bancarrota.

California
Como es requerido por la ley usted esta siendo notificado por este medio que un reporte de credito negativo afectando su reporte de
credito puede ser remitido a una agencia de reporte de creditos, si usted no puede satisfacer los tt\rminos de su obligacion.

El acto estatal de Rosenthal Fair Debt Collection Practices, y el acto federal de Fair Debt ColJection Practices requieren que, a menos
de circunstancias inusuales, los cobradores no podran contactarlo antes de las 8 a.m. o despues de las 9 p.m. Ellos no Jo podr3n
acosar usando amenazas violentas o arrestarlo o usar un lenguaje ofensivo. Los cobradores no podran usar declaraciones falsas o
engaftosas o llamarlo a su trabajo si ellos saben o tienen raz6n para saber que usted no puede recibir llamadas personales en su
trabajo. En general, cobradores no le podrAn decir a otra persona, aparte de su abogado o su esposa, acerca de su deuda. Los
cobradores se podrlin comunicar con otras personas para poder comunicarse con usted, y para entablar un juicio. Para mas
informacion sobre las actividades de coleccion de deuda, usted puede contactar Federal Trade Commission al 1-877-FTC-HELP o
www.ftc.gov



Atenclon Miembros del Servicio Militar y Dependientes: Ley de Amparo Civil para miembros del servicio militar y ciertas !eyes
estatales proporcionan protecciones importantes para usted, incluyendo protecciones de tasas de interCs y prohibiendo la ejecuci6n
hipotecaria bajo la mayoria de las circunstancias durante y doce meses despues del miembro del servicio militar u otro servicio.
Asesoramiento para militares con cobertura esta disponible de Military OneSource (800-342-9647) y la Asistencia Legal de las
Fuerzas Armadas de Estados Unidos o de otras agencias similares. Para mas informaci6n por favor visite el sitio web de Military
OneSource www.militaryonesource.mil/.
Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.964 Page 87 of 95




                  Exhibit TAC-8.4
 Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.965 Page 88 of 95

    P.O. BOX 51850
    LIVONIA Ml 48151-5850
    RETURN SERVICE REQUESTED
                                                                                               � ��=!����1!
                                                                                               Phone Number: 866-3 16-4706
                                                                                               Fax: 866-467-1137
                                                                                               www.she11pointmtg.cmt
                                                                                               Mon - Thurs: 8:00AM-IO:OOPM
    1.11 11 •1II"'•1•1111••11•1 p11111i111 111 •h I• 11 • 1 .. 1111•1II1 1°11 1                Fri: 8:00AM-IO:OOPM
    S-SFREC$20 L-150 R-1 1 7
                                                                                               Sat: 8:00AM-3:00PM
    PBRR9K00200335- 554298197 101336
    JULIO MAYEN
    SARAH MAYEN
    1 5335 CASTLE PEAK LN                                                                                                     08/1 3/201 8
    JAMUL CA 91935-2238




RE: Loan Number: 051 5393708
        Borrowers: JuUo Mayen and Sarah Mayen


Dear Julio Mayen and            Sarah Mayen:

This letter is in response to your recent inquiry regarding the above-referenced account serviced by Shellpoint Mortgage Servicing
on behalf of BANK OF NY as trustee fur CWMBS 2005-07, lhe owner of your loan. Their contact information is:

              Address:       IOI   Barclay St., SW New York NY                    10286

We are working to gather lhe requested information and will forward it to you as soon as possible.

If you have any additional questions or concerns, please contact our Customer Service departmenl at 866-3 16-4706.

Si usted no entiende el contenido de esta carta, por 18.vor contacte a uno de nuestros representantes que hablan espafi.ol al ofunero
866-3 16-4706.

Customer Service
Shellpoint Mortgage Servicing




                SEE REVERSE SIDE O R ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
                                                                              P !000100 A-0515393708 0011101�00
        Case 3:17-cv-00050-JLS-MDD Document 34 Filed 09/10/18 PageID.966 Page 89 of 95
                                  Please read the following IDlportaot notices as they may affect your rights.

 This is an attempt to collect a debt aod any information obtained will be used for that purpose. This communication is from a debt                               ..
 collector.

 If you are a customer in baokruptcy or a customer who has received a bankruptcy discharge ofthis debt: please be advised that this notice
                                                                                                                                                           Ill·




 is to advise you ofthe status ofyour mortgage loan. This notice constitutes neither a demand for payment nor a notice ofpersonal liability
 to any recipient hereof, who mildit have received a discharge ofsuch debt in accordance with applicable bankruptcy laws or who might be
 subject to the automatic stay ornection 362 of the United States Bankruptcy Code. However, it may be a notice ofpossible enforcement of
 the lien against the collateral prnperty, which has not been discharged in your bankruptcy.

 Attention Servicemembero and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important
 protections for you, includio� interest rate protections and prohibiting foreclosure under most circwnstances during and twelve months
 after the servicemernber's military or other service. Counselin� for covered servicernembers is available from Military OneSource
 (800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more information, please visit the
'Military OneSource website www.militaryonesource.mil/,

Notice of Error or Information Re,uest Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting infonnat1on about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing ofyour loan and would like to submit an Error Resolution or Infonnational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

The following is a Spanish traoslation of the information provided above.

                              Lea por favor las siguientes avisos importantes que puedan afectar sus derechos.

 Esto es un intento de cobrar una deuda y cualquier informaci6n obtenida se utilizara para ello. Esta comunicaci6n es de un cobrador de
 deudas.

 Si usted es un cliente en situaci6o de bancarrota o un cliente que ha recibido una descarga de bancarrota de la deuda: tenga en cuenta que
 este aviso es para infonnarle de la situaci6n de su prCstamo hipotecario. Este aviso no constituye una exigencia de pago 01 un aviso de
 responsabilidad civil contra ninguno de los destinatarios de la presente notificaci0n, que pudiese haber recibido un descargo de este tipo
 de deuda de confonnidad con la legislaciOn vigente sobre bancarrota o que pudiera ser objeto de suspensiOn autom8tica en virtud de
 Secci0n 362 de] C6digo de Bancarrota de los Estados Unidos. No obstante, puede ser una notificacion de una posible aplicacion de
 gravamen sobre la propiedad como garantia, que aUn no ha sido descargada en su proceso de bancarrota.

 Atenclon Mlembros del Servicio Militar y Dependleotes: Ley de Amparo Civil para miembros del servicio militar y ciertas leyes
estatales {>Tq>Orcionan protecciones importaotes para usted, iocluyendo protecciones de tasas de interCs y prohibiendo la ejecuci6n
hipotecar1a bajo la mayoria de las circunstancias durante y doce meses despuCs del miembro de1 servicio militar u otro servicio.
Asesoramiento para militares con cobertura esta disponible de Military OneSource (800-342-9647) y la Asistencia Legal de las Fuerzas
Armadas de Estadns Unidos o de otras agencias similares. Para mas infonnaci0n por favor visite el sitio web de Military OneSource
www.mi1itaryonesource.mi1/.


Aviso de Error o la DirecciOn de Peticiltn de lnformaci6n Usted tiene ciertos derechos en virtud de la ley federal relacionados con la
 resoluciOn de errores en e1 servicio de su prCstamo y la solicitud de informaci6n sobre su prCstamo. Si desea solicitar informaci6n sobre
 su prCstamo o si usted cree que un error lia ocurrido en el servicio de su prdstamo y desea presentar una resoluci6n de errores o solicitud
 de mformaci6n, por favor escribanos a la siguiente direcci0n: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

 The following is a Chinese translation of the information provided above.

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 If you prefer to receive communication in a language other than English, Spanish, or Chinese, please contact us at 866-316-4706 to speak with a
 translator in your preferred language about the servicing ofyour loan or a docwnent you received.
 California
 As required by law, you are hereby notified that a negative credit bureau report reflecting on your credit record may be submitted to a credit
 reporting agency if you mil to fulfill your credit obligation.
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The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act require that, except under unusual
circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may not harass you by using threats of violence or arrest or by
using obscene language. Collectors may not use false or misleading statements or caU you at work if they know or have reason to know that
you may not receive personal cans at work. For the most part, collectors may not tell another person, other than your attorney or spouse, about
yQur debt. Collectors may contact another person to confirm your location or enforce a judgment. For more information about debt collection
activities, you may contact the Federal Trade Commission at 1-877-FTC-HELP or www.ftc.gov.
California
Como es requerido por la ley usted esta siendo notificado por este medio que un reporte de credito negativo afectando su reporte de credito
puede ser remitido a una agencia de reporte de creditos, s1 usted no puede satisfacer los terminos de su obligaci6n.

El acto estatal de Rosenthal Fair Debt Collection Practices, y el acto federal de Fair Debt Collection Practices requieren que, a menos de
circunstancias inusuales, los cobradores no podrftn contactarlo antes de las 8 a.m. a despues de las 9 p.rn. Ellos no lo podnin acosar usando
amenazas violentas o arrestarlo o usar un lenguaje ofensivo. Los cobradores no p_odrcin usar declarac1ones falsas o engafiosas a llamarlo a su
trabajo si ellos saben o tienen raz6n para saber que usted no puede recibir llamadas personales en su trabajo. En general, cobradores no le
podr8n decir a otra persona, aparte de su abogado o su esposa, acerca de su deuda. Los cobradores se podran comunicar con otras personas
para poder comunicarse con usted, y para eniahlar unjuicio. Para mas informaci6n sobre las actividades de colecci6n de deuda, usted puede
contactar Federal Trade Commission al l-877-FTC-HELP o www.ftc.gov
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                    Exhibit TAC-9
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